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                           Exhibit F




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          Expert Report of M. Therese Lysaught, PhD.

              Prepared for Defendant Washington State University in

            Eastern District of Washington Case No. 2:22-cv-00319-TOR

                               Nicholas Rolovich, FB7ADJ=
                                                v.
                        Washington State University, defendant.




                                           O0"Vjgtgug"      Fkikvcnn{"ukipgf"d{"O0"Vjgtgug"
                                                            N{ucwijv"

                                   Signed: N{ucwijv
                                                            Fcvg<"424602:02;"36<33<26"/27)22)
Dated: August 9, 2024
                                   M. Therese Lysaught

Expert Report of M. Therese Lysaught – Page 1

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I.      CREDENTIALS

        A.      &OF;GJH; 7D: &CFBEPC;DI )AHIEGP

     1. I am a Roman Catholic moral theologian with a Mandatum from the Roman Catholic
        Church to teach in the theological disciplines, pursuant to the encyclical of Pope John
        Paul II Ex Corde Ecclesia. My <XA<Y TC AdVAX\YA NS?Qa@A Roman Catholic moral theology,
        Catholic social teaching, the theology and ethics of Catholic health care, health care
        ethics, and global health.

     2. * <R < ZASaXA@ 1XTCAYYTX NS ZMA /ANYc<SLAX *SY\ZaZA TC #NTAZMN?Y <S@ )A<QZM 1TQN?e <Z
        Loyola University Chicago, Stritch School of Medicine. I have worked at Loyola University
        Chicago since July 1, 2013, cNZM < OTNSZ <VVTNSZRASZ NS ZMA *SY\ZaZA TC 1<YZTX<Q 4Za@NAY
        from 2013-2020. *S  j * c<Y <VVTNSZA@ ZT ZMA 1TS\E?<Q "?<@ARe CTX -NCA <Z ZMA
        7<\?<S <Y < $TXXAYVTS@NSL .AR>AXm 'XTR  -2013, I served as < 7NYN\SL 4?MTQ<X cNZM
        ZMA $<ZMTQN? )A<QZM "YYT?N<\TSm 'XTR "aLaYZ -.<e j * MAQ@ ZMA VTYN\TS TC
        ZASaXA@ "YYT?N<ZA 1XTCAYYTX NS ZMA %AV<XZRASZ TC 5MATQTLe <Z .<XWaA^A 6SNbAXYNZej
        Milwaukee, Wisconsin. In August 1995, I joined the faculty of the Department of
        Religious Studies at the University of Dayton as an Assistant Professor, where I received
        ZASaXA <S@ VXTRT\TS ZT ZMA X<SP TC "YYT?N<ZA 1XTCAYYTX ADA?\bA 1. At all three
        aSNbAXYN\AYj * M<bA MAQ@ <?<@ARN? <@RNSNYZX<\bA VTYN\TSYm 'XTR -1998, I served on
        the Recombinant D/" "@bNYTXe $TRRN^AA <Z ZMA /<\TS<Q *SY\ZaZAY TC )A<QZMm *S -
        j * YAXbA@ <Y <S /*) 'AQQTc NS ZMA 1XTLX<R NS .TQA?aQ<X <S@ $QNSN?<Q (ASA\?Yr
        #NTRA@N?<Q &ZMN?Y <Z ZMA 6SNbAXYNZe TC *Tc<j bN< ZMA &ZMN?<Qj -AL<Qj <S@ 4T?N<Q *RVQN?<\TSY
        Program (ELS*u TC ZMA /<\TS<Q $ASZAX CTX )aR<S (ASTRA 3AYA<X?M t/$)(3um

     3. * A<XSA@ < #4 NS $MARNYZXe CXTR )TVA $TQQALA NS )TQQ<S@j .N?MNL<S tuj <S ." NS
        Theology from the University of Notre Dame (1986), and a PhD in Religion (Theological
        Ethics) from Duke University (1992).

     4. Since 2022, I have served as the Editor of the Journal of Moral Theology, a scholarly
        peer-reviewed journal focused on Catholic moral theology. Since 1992, I have also
        YAXbA@ NS < b<XNAZe TC <@bNYTXe ?<V<?N\AYj NS?Qa@NSL cNZMl ZMA 1TS\E?<Q "?<@ARe CTX -NCAj
        ZMA $<ZMTQN? .A@N?<Q .NYYNTS #T<X@k ZMA (QT><Q '<NZM-#<YA@ )A<QZM $<XA NSN\<\bA
        YVTSYTXA@ >e (ATXLAZTcS 6SNbAXYNZe <S@ ZMA 'TS@<fNTSA #XaST ,AYYQAX NS 5XASZTj *Z<Qek
        the Program on Medicine and Religion at the University TC $MN?<LTk ZMA #T<X@ TC
        %NXA?ZTXY TC ZMA 4T?NAZe TC $MXNY\<S &ZMN?Yk ZMA "SLQN?<S-Roman Catholic Theological
        $TSYaQZ<\TS 6m4m"m aS@AX ZMA <aYVN?AY TC ZMA United States Conference of Catholic
        #NYMTVYk ZMA "RAXN?<S "YYT?N<\TS CTX ZMA "@b<S?ARASZ TC 4?NAS?Ak ZMA $<ZMTQN? )A<QZM
        "YYT?N<\TSk <S@ ZMA 3A?TR>NS<SZ %/" "@bNYTXe $TRRN^AA TC ZMA /<\TS<Q *SY\ZaZAY TC
        )A<QZMm * <QYT XALaQ<XQe ?TSYaQZ cNZM $<ZMTQN? MA<QZM YeYZARY <S@ aSNbAXYN\AY TS R<^AXY
        of theology, mission, and ethics.


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       B.     /N8BA97JEDH

   5. SiS?A j * M<bA Va>QNYMA@ YNd >TTPY in English—one on Catholic moral theology
      (Gathered for the JouKG;TY -HK7E 3A;HEH@T BG $7MAHEB9 0;KLJ;9NQ;j uj ZcT TS
      theology and health care ethics (/G -HK7E -;:B9BG;Y 3A;HEH@B97E 0;KLJ;9NQ;L BG -;:B97E
      Ethics,  k <S@ $7MAHEB9 #BH;MAB9L 7G: 2H9B7E +PLN9;j uk TSA TS ZMA ZMATQTLN?<Q
      CTaS@<\TSY TC $<ZMTQN? MA<QZM ?<XA t$7KBM7L BG $HFFPGBHGY 3A;HEH@B97E 'HPG:7NHGL H=
      Catholic Health Carej uk TSA TS ZMA AZMN?Y TC SAaXTY?NAS?A t#BHJHEBN9L "?;K
      Neuroscience: Morality and the Economy of Virtuej  uk <S@ TSA Tn the celebrated
      LQT><Q MA<QZM VNTSAAXj %Xm 1<aQ '<XRAX t" 0KHJA;M MH MA; 0;HJE;LY 07PE '7KF;K’s Witness
      and Theological Ethics, 2023). Two of these books have been translated into Spanish.
      Three of these books have received awards—ZMA   &dV<S@A@ 3A<YTS *SY\ZaZA "c<X@
      CXTR ZMA 6SNbAXYN@<@ 'X<S?NY?T @A 7NZTXN< t.<@XN@u <S@ ZMA 'TS@<fNTSA 7<\?<S< +TYAVM
      3<ZfNSLAX #ASA@A^T 97* CTX #BHJHEBN9L "?;K .;PKHL9B;G9;k in 2019, Catholic Bioethics
      and Soci7E +PLN9; XA?ANbA@ <S MTSTX<>QA RAS\TS CTX #AYZ /Ac #TTPY TS $<ZMTQN? 4T?N<Q
      Teaching CXTR ZMA $<ZMTQN? 1XAYY "YYT?N<\TSk <S@ NS j Gathered for the Journey won
      ZMNX@ VQ<?A MTSTXY CTX ZMA <SSa<Q <c<X@ CTX #AYZ /Ac #TTP NS 5MATQTLe, also from the
      CathTQN? 1XAYY "YYT?N<\TSm Within the last ten years, I have also published: 22 peer-
      XAbNAcA@ OTaXS<Q <X\?QAYk 11 ?M<VZAXY NS >TTPYk many >XNACAX Va>QN?<\TSYk and I have
      given 11 refereed conference papers and 39 invited lectures on the theology and ethics
      TC $<ZMTQN? MA<QZM ?<XA <S@ <@@N\TS<Q ZTVN?s. These items are also listed in Appendix 1.

       C.     Service as an Expert Witness

   6. In the past ten years, I have served as an expert witness in the following cases: $A7QB;L QZ
      Catholic Health East, No. 13-1645 (E.D. Pa.)k -;:BG7 QZ $7MAHEB9 );7EMA *GBN7NQ;L, No. 13-
      cv-01249-3&#-,-. (D. Colo.)k 2FBMA QZ /2' Healthcare System, Case No. 16-CV--SMY-
      RJD (S.D. Ill.); ,BEB7G 1HF;KH QZ "G7 1HF;KH, Los Angeles Superior Court Case No.
      451#, In re Juan Fernando Romero, Los Angeles Superior Court Case No.
      451# k <S@ $7J;EEH QZ 'K7G9BL97G "EEB7G9;, No. 3:16-cv-290-TLS-.(( t/m%m *S@mu.

       D.     Scope of Work

   m * c<Y <YPA@ ZT Ab<Qa<ZA ZMA TVNSNTSY TDAXA@ >e +TMS %N $<RNQQT XAL<X@NSL /N?MTQ<Y
      Rolovich’s refusal to receive the COVID- b<??NS<\TS CTX ZMA YZ<ZA@ XA<YTS ZM<Z NZ
      ?TSIN?ZA@ cNZM MNY YNS?AXA XAQNLNTaY >AQNACY <Y < 3TR<S $<ZMTQN?m

       E.     %E9NC;DIH Considered

   8. 5MA @T?aRASZY * M<bA ?TSYN@AXA@ NS CTXRNSL Re TVNSNTSY NS ZMNY R<^AX NS?Qa@A ZMTYA
      documents cited in this Report and those listed below. These documents, especially
      those that represent the teachings of the Roman Catholic Church, are the type of
      @T?aRASZY ZM<Z <XA XALaQ<XQe XAQNA@ aVTS >e AdVAXZY NS Re EAQ@m


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                •   The Second Amended Complaint
                •   Nicholas Rolovich’Y &dARV\TS 3AWaAYZ 'TXR 4a>RN^A@ TS 4AVZAR>AX 28, 2021
                •   5MA 846 "ZMQA\? %AV<XZRASZ’Y .ARTY 4a>RN^A@ ZT )aR<S 3AYTaX?AY 4AXbN?AY
                    on October 13, 2021
                •   5MA 0?ZT>AX j   AR<NQ CXTR )aR<S 3AYTaX?AY 4AXbN?AY cNZM ZMA TH?N<Q
                    ST\?A ZM<Z MNY AdARV\TS c<Y @ASNA@
                •   5MA 0?ZT>AX j   QA^AX CXTR 1<Z $MaS ZT /N?MTQ<Y 3TQTbN?M XAl 8XN^AS
                    /T\?A TC *SZASZ ZT 5AXRNS<ZA CTX +aYZ $<aYA
                •   The NovembAX  j   QA^AX CXTR 1<Z $MaS ZT /N?MTQ<Y 3TQTbN?M XAl /T\?A TC
                    Decision to Terminate for Just Cause

           F.       $ECF;DH7JED

       9. * <R >ANSL ?TRVASY<ZA@ CTX ZMA cTXP TS ZMNY ?<YA <Z < X<ZA TC rMTaX CTX XAYA<X?Mj
          cXN\SLj ?TSYaQ\SL, <S@ ZAY\CeNSL <Z ZXN<Q TX NS @AVTYN\TSm

II.        EXPERT REPORT

       10. In his opinion, John Di $<RNQQT <@@XAYYAY ZMA WaAY\TS TC cMAZMAX .Xm 3TQTbN?M “may
           have been required to refuse a COVID- b<??NS<\TS” based on “the teachings of the
           Roman Catholic Church.” 1 *S MNY <S<QeYNYj MA VaXVTXZY ZT TDAX < summary of the Roman
           $<ZMTQN? ZA<?MNSL TS ?TSY?NAS?Ak MA <VVQNAY cM<Z MA XACAXY ZT <Y “the principle of
           ZMAX<VAa\? VXTVTX\TS<QNZeqk and makes statements about Roman Catholic teaching
           <>TaZ b<??NS<\TSY NS LASAX<Qm #<YA@ TS ZMAYA VXARNYAY MA ?TS?Qa@AY ZM<Z “ZM<Z NCj <KAX
           @aA @NQNLAS?A NS YAAPNSL TaZ <S@ ?XN\?<QQe <YYAYYNSL RA@N?<Q <S@ RTX<Q NSCTXR<\TS
           pertaining to COVID-19 and the vaccines, Nicholas Rolovich came to a sure judgment in
           conscience that he should not receive a COVID-19 vaccine, then the teachings of the
           Catholic Church required that he refuse the vaccine.” 2

       11. In my opinion, Mr. Di Camillo’s VXAYASZ<\TS TC A<?M TC his VXARNYAY NY @AAVQe I<cA@m
           While he correctly cites one part of the Roman Catholic teaching on conscience, he fails
           to present the Church’Y ZA<?MNSL NS NZY AS\XAZem )NY “VXNS?NVQA TC ZMAX<VAa\?
           VXTVTX\TS<QNZe” NY N@NTYeS?X<\?m )A TRNZY TSA TC ZMA RTYZ ?ASZX<Q VXNS?NVQAY TC $<ZMTQN?
           >NTAZMN?Y ZM<Z MAQVY V<\ASZY ZT R<PA RTX<QQe-informed decisions about medical
           NSZAXbAS\TSY—namely, the principle of ordinary and extraordinary means. And most
           importantly, his analysis AS\XAQe NLSTXAY the XT>aYZ >T@e TC <aZMTXNZ<\bA ZA<?MNSL
           promulgated by the Roman Catholic magisterium 3 in 2020 and 2021 regarding the moral


1
    John Di Camillo, “&dVAXZ %A?Q<X<\TS TC +TMS "m $<RNQQTj” July 1, 2024, no. 4, emphasis added.

2
    Di Camillo, STm j ARVM<YNY <@@A@.

3
 Within the Roman Catholic Church, the term “magisterium” (><YA@ TS ZMA -<\S cTX@ CTX “teacher” (magister))
XACAXY ZT ZMA TH?N<Q ZA<?MNSL <aZMTXNZe TC ZMA $MaX?Mj ?TSY\ZaZA@ >e ZMA 1TVA <S@ #NYMTVY NS aSNTS cNZM MNRm

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       acceptability—and, in fact, morally obligatory status—of the COVID-19 vaccines. Roman
       Catholic teaching requires faithful Catholics to use such teaching to properly form their
       consciences and to give witness to that teaching in their <?\TSYm

   12. *S <@@N\TS, in his report, Di Camillo @TAY STZ AbAS <^ARVZ ZT <S<QefA or evaluate the
       actual process by which Mr. Rolovich formed his conscience and came to his judgement.
       The Catholic Church enjoins a clear and robust process for conscience CTXR<\TSm :AZ Di
       Camillo does not appear to have spoken with Mr. Rolovich or reviewed any documents
       relevant to Mr. Rolovich’s process for “YAAPNSL TaZ <S@ ?XN\?<QQe <YYAYYNSL RA@N?<Q <S@
       RTX<Q NSCTXR<\TS VAXZ<NSNSL ZT $07*%-19 and vaccines.”

   13. My analysiY cNQQ VXT?AA@ NS CTaX YA?\TSYl

       'NXYZj * cNQQ XAbNAc ZMA QTSL QNYZ TC YZ<ZARASZY XAL<X@NSL ZMA RTX<Q <??AVZ<>NQNZe TC ZMA
       COVID-19 vaccines promulgated by the spectrum of Roman Catholic magisterial
       <aZMTXN\AY NS  -  m 5MAYA <aZMTXN\AY NS?Qa@Al

          a.   1TVA 'X<S?NY tRaQ\VQA from 2020-2022)
          b.   5MA $TSLXAL<\TS CTX ZMA %T?ZXNSA TC ZMA '<NZM t%A?m  u
          c.   5MA 7<\?<S $07*%- $TRRNYYNTSr1TS\E?<Q "?<@ARe CTX -NCA t%A?m  u
          d.   5MA 64 $TSCAXAS?A TC $<ZMTQN? #NYMTVY t%A?m  u

       Next, I will review tMA VTYN\TS TC Di Camillo’s employer, ZMA /<\TS<Q $<ZMTQN? #NTAZMN?Y
       Center, on the COVID-19 vaccines. This VTYN\TS c<Y aYA@ ZT ?XA<ZA < b<??NSA AdARV\TS
       template cMN?M c<Y aYA@j NS YQNLMZQe RT@NEA@ C<YMNTSj >e .Xm 3TQTbN?M NS MNY <VVQN?<\TS
       to Washington State University CTX < XAQNLNTaY AdARV\TS. Di Camillo’s opinion is largely a
       restatement of that template. The template also contradicts the consensus of the
       Roman Catholic magisterium.

       Third, I will AdVQ<NS ZMA R<OTX I<cY NS ZMA TVNSNTSY TDAXA@ NS Di Camillo’s report.
       4VA?NE?<QQej * cNQQ <@@XAYY MNY NS?TRVQAZA VXAYASZ<\TS TC 3TR<S $<ZMTQN? ZA<?MNSL TS
       conscience, his principle of “ZMAX<VAa\? VXTVTX\TS<QNZe,” and I will outline the more
       important and relevant principle by which CathoQN?Y <XA ZT Ab<Qa<ZA cMAZMAX V<X\?aQ<X
       RA@N?<Q NSZAXbAS\TSY <XA RTX<QQe T>QNL<ZTXej ZMA VXNS?NVQA TC TX@NS<Xe <S@ AdZX<TX@NS<Xe
       means.

       'NS<QQej * cNQQ @NY?aYY ZMA $MaX?M’Y VTYN\TS TS ZMA ?TSYAWaAS?AY ZM<Z ?TSY?NAS\TaY
       <?\TS R<e ASZ<NQj S<RAQej that while individuals have rights to follow their consciences,
       Ya?M <?\TSY R<e ASZ<NQ A??QAYN<Y\?<Qj ?NbNQj <S@rTX ARVQTeRASZ VAS<Q\AYm

   14. #<YA@ TS <QQ TC ZMAYA C<?ZTXYj * ?TS?Qa@A ZM<Z .Xm Di Camillo is incorrect that Mr. Rolovich
       was required to refuse the COVID-19 vaccine based on his Roman Catholic faith.



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    1. 1I7I;C;DIH 0;?7G:AD? I@; $.4*%-UW 4799AD;H 8P 0EC7D $7I@EBA9 Magisterial
       "NI@EGAJ;H $EDHAHI;DIBP 1NFFEGI 4799AD7JED

    15. .Xm 3TQTbN?M XAWaAYZA@ <S AdARV\TS CXTR 8ashington State University’s COVID-19
        vaccine mandate for employees based on his claim that to receive the COVID-19 vaccine
        would violate his conscience as a member of the Roman Catholic Church. To assess the
        validity of that cl<NRj ZMA SA?AYY<Xe EXYZ YZAV NY ZT <Y?AXZ<NS ZMA teaching of the Roman
        Catholic Church on this V<X\?aQ<X WaAY\TS—YVA?NE?<QQej on the moral status of the
        COVID-19 vaccines. 5MNY NY SA?AYY<Xe CTX ZcT XA<YTSYm 'NXYZj NZ AYZ<>QNYMAY cMAZMAX .Xm
        Rolovich’s claim ZM<Z MNY XAQNLNTaY T>OA?\TS YZARY CXTR MNY $<ZMTQN? C<NZM is factually true.
        Second, as we will see in II.3 below, in order to form one’s conscience well, Catholics are
        required to consult and CTQQTc ZMA <aZMTXNZ<\bA ZA<?MNSL TC ZMA 3TR<S $<ZMTQN?
        magisterium.

    16. There is a hierarchy of teaching authority in the Roman Catholic Church. (QT><QQej ZMA
        authority structure proceeds as follows (from highest to lowest): 4

             a.   An Ecumenical Councilj Ya?M <Y ZMA 4A?TS@ 7<\?<S $TaS?NQ t -1965)
             b.   An ex cathedra statement by the Pope (rare event) 5
             c.   OH?N<Q YZ<ZARASZY >e ZMA 1TVA
             d.   4Z<ZARASZY TC 7<\?<S $aXN<Q TH?AY. IS ZMNY ?<YAj ZMA XAQAb<SZ TH?AY cTaQ@ >Al 6
                       i. 5MA %N?<YZAXe CTX ZMA %T?ZXNSA TC ZMA '<NZM
                      ii. 5MA %N?<YZAXe CTX ZMA 1XTRT\TS TC *SZALX<Q )aR<S %AbAQTVRASZ
                             1. 7<\?<S $07*%-19 Commission
                     iii. 5MA 1TS\E?<Q "?<@ARe CTX -NCA


4
 Russell Smith, “" 3AYTaX?A CTX &b<Qa<\SL -AbAQY TC "aZMTXNZe NS $MaX?M 5A<?MNng,” Health Care Ethics USA
t$<ZMTQN? )A<QZM "YYT?N<\TSj ul M^VYlrrcccm?M<aY<mTXLr@T?Yr@AC<aQZYTaX?Ar
M?AaY<r C?>>>@?>>>A><>?-pdf.

5
  The Pope’s authority to issue infallible teachings, or to teach ex cathedra (“from the chair” TC 1AZAXu NY @AESA@ NS
$<Sm j §1 of the Code of Canon Law (1983): M^VYlrrcccmb<\?<Smb<r<X?MNbAr?T@-iuris-
?<STSN?Nr?N?sNS@AdsASmMZRQ. As it states: “#e bNXZaA TC MNY TH?Aj ZMA 4aVXARA 1TS\D VTYYAYYAY NSC<QQN>NQNZe NS
teaching when as the supreme p<YZTX <S@ ZA<?MAX TC <QQ ZMA $MXNY\<S C<NZMCaQj cMT YZXASLZMASY MNY >XTZMAXY <S@
YNYZAXY NS ZMA C<NZMj MA VXT?Q<NRY >e @AESN\bA <?Z ZM<Z < @T?ZXNSA TC C<NZM TX RTX<QY NY ZT >A MAQ@m” Such teachings
have only been promulgated twice, in 1854 regarding the @T?ZXNSA TC ZMA *RR<?aQ<ZA $TS?AV\TS TC .<Xe <S@ NS
 XAL<X@NSL ZMA @T?ZXNSA TC ZMA "YYaRV\TS TC ZMA #QAYYA@ 7NXLNS .<Xem Therefore, ex cathedra teachings are not
relevant in this case.

6
 5MA 7<\?<S ?aXN<Q TH?AY <XA <S<QTLTaY ZT ZMA  AdA?a\bA departments that are part of the Cabinet of the US
LTbAXSRASZm &mLmj ZMA 7<\?<S %N?<YZAXe CTX $aQZaXA <S@ &@a?<\TS cTaQ@ >A <S<QTLTaY ZT ZMA 64 %AV<XZRASZ TC
&@a?<\TSm "QZTLAZMAXj ZMAXA <XA  @N?<YZAXNAY <S@ TZMAX AdA?a\bA >T@NAYj MA<@Wa<XZAXA@ NS 7<\can City, that
referred to as the Roman Curia. 'TX < ?TRVQAZA QNYZ TC ZMA 7<\?<S ?aXN<Q TH?AYj YAAl
M^VYlrrcccmb<\?<Smb<r?TSZASZrXTR<S?aXN<rASmMZRQ.


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      m 8NZMNS YVA?NE? ?TaSZXNAYj <@@N\TS<Q <aZMTXN\AY cTaQ@ NS?Qa@A the local bishops’
          conferences—NS ZMNY ?<YAj ZMA 64 $TSCAXAS?A TC $<ZMTQN? #NYMTVY t64$$#u.

      18. In order to form one’s conscience well as a Catholic TS < V<X\?aQ<X ZTVN?j TSA RaYZ EXYZ
          carefully read and CTQQTc ZMA ZA<?MNSLY TC ZMAYA b<XNTaY AS\\AY, ordinarily in this order.
          Analogously to civil case law, newer teachings >e ZMAYA b<XNTaY <aZMTXN\AY build on,
          YTRA\RAY ?TXXA?Zj <S@ YaVAXsede previous teachings.

      19. With regard to the COVID-19 vaccines, in 2021 there was a resounding consensus among
          these Roman Catholic magisterial statements that the currently available COVID-19
          vaccines were all morally acceptable. 5MNY c<Y <QYT ZXaA TC ZMA 1EfAX <S@ .T@AXS<
          vaccines that were available in the summer of 2021. "Y * @AZ<NQ >AQTcj 1TVA 'X<S?NY, the
          %N?<YZAXe CTX ZMA %T?ZXNSA TC ZMA '<NZMj ZMA 7<\?<S $07*%-19 Commission sponsored by
          ZMA %N?<YZAXe CTX 1XTRT\SL *SZALX<Q )aR<S %AbAQTVRASZj ZMA 1TS\E?<Q "?<@ARe CTX
          -NCAj <S@ ZMA 64$$# concur on this point. These bodies also concur that Catholics have a
          “moral responsibility” to be vaccinated in order to protect their own lives and health, to
          protect the lives and health of others, and to promote the common good.

      20. 5MAYA <aZMTXNZ<\bAj R<LNYZAXN<Q >T@NAY XA<?MA@ ZMAYA ?TS?QaYNTSY via thorough, careful,
          balanced, faithful reasoning processes using the RaQ\VQA YTaX?AY TC ZMA $<ZMTQN?
          ZX<@N\TS: the best Y?NAS\E? AbN@AS?A about the SARS-COV-2 virus <S@ <S\-COVID-19
          vaccines as it became available as the pandemic unfoldedk the basic tenets of
          epidemiology and public healthk the principles of Catholic bioethicsk the principles of
          Catholic social teachingk and the cardinal and theological virtues. An adequate and
          credible Catholic moral analysis brings together all of these sources when considering a
          V<X\?aQ<X VX<?\?<Q WaAY\TSm One can see this process in these documents.

        A. 1TVA 'X<S?NY

      21. In this case, there is neither an ecumenical council nor an ex cathedra papal statement
          that directly addressed COVID-19 vaccines. Therefore, we begin with the statements of
          1TVA 'X<S?NYm The 4A?TS@ 7<\?<S $TaS?NQ, held from 1962-1965, is the most recent
          Ecumenical Council. It states clearly that the Pope exercises an:

              …<aZMAS\? magisterium…even when he is not speaking ex cathedrak ZM<Z NYj vXAL<X@w
              must be shown in such a way that his supreme magisterium is acknowledged with
              reverence, the judgments made by him are sincerely adhered to, according to his
              R<SNCAYZ RNS@ <S@ cNQQm )NY RNS@ <S@ cNQQ NS ZMA R<^AX R<e >A PSTcS ANZMAX CXTR
              ZMA ?M<X<?ZAX TC ZMA @T?aRASZYj CXTR MNY CXAWaASZ XAVA\\TS TC ZMA Y<RA @T?ZXNSAj
              or from his manner of speaking. 



    4A?TS@ 7<\?<S $TaS?NQj Lumen G;GNPF t%TLR<\? $TSY\Za\TS TS ZMA $MaX?Muj x , emphasis added.


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    22. Therefore, ZMA SA?AYY<Xe YZ<X\SL VTNSZ CTX <Se <S<QeYNY regarding the Roman Catholic
        VTYN\TS TS ZMA moral validity of the COVID-19 vaccines—whether conducted by a
        $<ZMTQN? TXL<SNf<\TS TX <S NS@NbN@a<Q $<ZMTQN?—are statements by the Pope.

    23. 1TVA 'X<S?NY <@@XAYYA@ ZMA $07*%- b<??NSAY <Z QA<YZ YNd \RAY >AZcAAS  -2021. In
        these statements, he made clear that the all of the COVID-19 vaccines were morally
        acceptable, that to be vaccinated against COVID-19 was (for Catholics) a moral
        T>QNL<\TSj <S@ ZM<Z ZMA 3TR<S $<ZMTQN? $MaX?M YMTaQ@ cTXP cNZM QT?<Q LTbAXSRASZY <S@
        TZMAX TXL<SNf<\TSY ZT ASYaXA aSNbAXY<Q <??AYY ZT ZMAYA b<??NSAYm

    (1) 1;FI;C8;G VTVTR *S 4AVZAR>AX  j 1TVA 'X<S?NY <@@XAYYA@ RAR>AXY TC ZMA *Z<QN<S
        1M<XR<?Aa\?<Q #<SPm 8 '<?A@ cNZM < LQT><Q V<S@ARN?j ZMA 1TVA XAVA<ZA@Qe @A?XNA@
        LQT><Q @NYV<XN\AY NS b<??NSA @NYZXN>a\TS <S@ ?<QQA@ CTX XA@Ta>QA@j ?TTX@NS<ZA@ ADTXZY CTX
        universal vaccine access. As he noted, “I repeat that it would be sad if, in providing the
        vaccine, priority were given to the wealthiest, or if this vaccine became the property of
        this or that country, and was no longer for everyone. It must be universal, for all.”
        Instead, he “VXTVTYAv@w ZT LQT><QNYA ZXA<ZRASZj ZM<Z NYj ZMA VTYYN>NQNZe TC <??AYY ZT ZMTYA
        @XaLY ZM<Z ?TaQ@ Y<bA YT R<Se QNbAY CTX <QQ VTVaQ<\TSYm” )A ?<QQA@ TS VM<XR<?NYZYj
        VM<XR<?Aa\?<Q ?ompanies, and governments to work toward the goal of a “more
        AWaNZ<>QA @NYZXN>a\TS TC RA@N?NSAYm” 1TVA 'X<S?NY cTaQ@ STZ ?<QQ CTX aSNbAXY<Q <??AYY ZT <
        RA@N?<Q NSZAXbAS\TS ZM<Z ZMA $MaX?M @AARA@ RTX<QQe VXT>QAR<\? NS <Se c<em

    (2) January 2021: On January 1j  j 1TVA 'X<S?NY NYYaA@ MNY <SSa<Q World Day of Peace
        message. These statements are generally considered to ?<XXe YNLSNE?<SZ cANLMZm &S\ZQA@
        “A Culture of Care as a Path to Peace,” 1TVA 'X<S?NY ARVM<YNfA@ ZMA ?ASZX<QNZe TC ?<XA CTX
        others at the center of the gospel.9 "Z ZMNY VTNSZj ZMA 1EfAXj .T@AXS<j <S@ +TMSYTS |
        +TMSYTS b<??NSAY M<@ >AAS XAQA<YA@ <S@j <Y cA cNQQ YAA >AQTcj ZMA 7<\?<S M<@ NYYaA@
        YZ<ZARASZY ?TSEXRNSL ZMANX RTX<Q <??AVZ<>NQNZem )AXAj MA XASAcA@ MNY “appeal to
        VTQN\?<Q QA<@AXY <S@ ZMA VXNb<ZA YA?ZTX ZT YV<XA ST ADTXZ ZT ASYaXA <??AYY ZT $TbN@-19
        b<??NSAY <S@ ZT ZMA AYYAS\<Q ZA?MSTQTLNAY SAA@A@ ZT ?<XA CTX ZMA YN?Pj ZMA VTTX <S@
        those who are most vulnerable.” )A LXTaS@Y ZMNY <VVA<Q TS NS $<ZMTQN? ZMATQTLe <S@
        Catholic social doctrine, which “can serve as a ‘grammar’ of care: commitment to
        VXTRT\SL ZMA @NLSNZe TC A<?M MaR<S VAXYTSj YTQN@<XNZe cNZM ZMA VTTX <S@ baQSAX<>QAj




8
  "@@XAYY TC )NY )TQNSAYY 1TVA 'X<S?NY ZT ZMA .AR>AXY TC ZMA ‘#<S?T '<XR<?Aa\?T’ 'TaS@<\TS,’ (September 19,
2020), M^VYlrrcccmb<\?<Smb<r?TSZASZrCX<S?AY?TrASrYVAA?MAYr  rYAVZAR>AXr@T?aRASZYrV<V<-
CX<S?AY?Ts  s><S?T-farmaceu\?TmMZRQ.

9
  1TVA 'X<S?NYj “" $aQZaXA TC $<XA <Y < 1<ZM ZT 1A<?Am .AYY<LA TC )NY )TQNSAYY 1TVA 'X<S?NY CTX ZMA $AQA>X<\TS TC
the 54th World Day of Peace,” (January 1, 2021),
M^VYlrrcccmb<\?<Smb<r?TSZASZrCX<S?AY?TrASrRAYY<LAYrVA<?Ar@T?aRASZYrV<V<-
CX<S?AY?Ts   sRAYY<LLNT-54giornatamondiale-pace2021.html.


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            ZMA VaXYaNZ TC ZMA ?TRRTS LTT@ <S@ ?TS?AXS CTX VXTZA?\TS TC ?XA<\TS.” 10

       (3) January 2021: In January 2021, Vatican City became the first country to offer COVID-19
           b<??NSAY ZT <QQ TC NZY ?NZNfASY <S@ ARVQTeAAYm 11 Shortly thereafter, in an intentionally
           Va>QN?NfA@ AbASZj 1TVA 'X<S?NY <S@ then-Pope-&RAXNZaY #ASA@N?Z 97* Va>QN?Qe XA?ANbA@
           the vaccines. 12 In doing so, 1TVA 'X<S?NY “referred to the vaccination as ‘an ethical
           action, because vNC eTa @TSoZ LAZ b<??NS<ZA@w you are gambling with your health, you are
           L<R>QNSL cNZM eTaX QNCAj >aZ eTa <XA <QYT L<R>QNSL cNZM ZMA QNbAY TC TZMAXYmoq )A <QYT
           rejected vaccine refusal. "There is a suicidal denialism that I would not know how to
           explain,” he stated, “but today people must take the vaccine.” 13

       (4) May 2021: *S < .<e   bN@AT RAYY<LAj 1TVA 'X<S?NY ?TS\SaA@ ZT ?<QQ CTX aSNbAXY<Q
           access to the COVID-19 vaccines and for ZMA ZARVTX<Xe YaYVASYNTS TC V<ZASZ XAYZXN?\TSY
           ZM<Z cAXA R<PNSL Ya?M aSNbAXY<Q <??AYY @NH?aQZm 14

       (5) August 2021: 0S "aLaYZ j  j 1TVA 'X<S?NY XAQA<YA@ < bN@AT RAYY<LA ?XA<ZA@ NS
           ?TSOaS?\TS cNZM < SaR>AX TC 4V<SNYM-speaking bishops from North and South America
           designed to combat vaccine refusalm )A <^XN>aZA@ ZMA AdNYZAS?A TC ZMA $07*%-19
           vaccines “ZT (T@’s grace.” )A CaXZMAX R<@A ?QA<Xl “(A_SL ZMA b<??NSAY ZM<Z <XA
           <aZMTXNfA@ >e ZMA XAYVA?\bA <aZMTXN\AY NY an act of love. And helping the majority of
           people to do so is an act of love. Love for oneself, love for our families and friends, and
           QTbA CTX <QQ VATVQAYm -TbA NY <QYT YT?N<Q <S@ VTQN\?<Qm 5MAXA NY YT?N<Q QTbA <S@ VTQN\?<Q QTbAj
           it is universal….(A_SL b<??NS<ZA@ NY < YNRVQA eAZ VXTCTaS@ cay to care for one another,
           especially the most vulnerable.”15 5MNY VTYN\TS A?MTAY ZMA $<ZMTQN? ZA<?MNSL ZM<Z
           charity—self-LNK TX YAQC-emptying love for the good of others—is, following the example
           of Jesus and the teaching of Thomas Aquinas, the center of Catholic moral reasoning.




10
     Ibid., §6.

11
  Elise Ann Allen, “7<\?<S *YYues Vaccine Mandate for All Employees,” Crux (December 24, 2021),
M^VYlrr?XadSTcm?TRrb<\?<Sr  r rb<\?<S-issues-vaccine-mandate-for-all-employees.

12
  “1TVA 'X<S?NY <S@ ZMA 1TVA &RAXNZaY 3A?ANbA $07*%-19 Vaccine,” 57N97G .;RL (January 14, 2021),
M^VYlrrcccmb<\?<SSAcYmb<rASrVTVArSAcYr  -rpope-francis-benedict-xvi-covid-19-vaccine.html.

13
   Joshua J. McElwee, “1TVA 'X<S?NY 4aLLAYZY 1ATVQA )<bA .TX<Q 0>QNL<\TS ZT 5<PA $TXTS<bNXaY 7<??NSAj” NCR
(January 11, 2021), M^VYlrrcccmS?XTSQNSAmTXLrb<\?<SrVTVA-francis-suggests-people-have-moral-T>QNL<\TS-take-
coronavirus-vaccine.

14
  Joe McCarthy, “PopA 'X<S?NY $<QQY CTX 6SNbAXY<Q "??AYY ZT $07*%- 7<??NSAY <S@ -NKNSL TC 1<ZASZ 3AYZXN?\TSYj”
(EH87E $BNU;G (May 8, 2021): M^VYlrrcccmLQT><Q?N\fASmTXLrASr?TSZASZrVTVA-francis-covid-19-vaccines-vax-QNbAr.

15
     1TVA 'X<S?NYj “Unity Across the Americas,” M^VYlrrcccmeTaZa>Am?TRrc<Z?Mibf:5Xc5S+'0U, emphasis added.


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       (6) %;9;C8;G VTVUR In December 2021, in the face of the Omicron-variant surge, the
           7<\?<S NYYaA@ < b<??NSA R<S@<ZA CTX <QQ ARVQTeAAY. 16 Employees who were not
           b<??NS<ZA@ C<?A@ VTYYN>QA @ART\TS Y<Q<Xe QTYYj YaYVASYNTSj <S@ RTXAm 5MA R<S@<ZA
           <QQTcA@ CTX MA<QZM AdARV\TSY >aZ STZ religious ?TSY?NAS\TaY AdARV\TSY. 

       (7) January 2022: In January 2022, 1TVA 'X<S?NY YZ<ZAd that ge_SL b<??NS<ZA@ against the
           coronavirus was “< RTX<Q T>QNL<\TS.” 18 )A <QYT @A?XNA@ “N@ATQTLN?<Q @NbN@AY vZM<Zw cAXA
           @NY?TaX<LNSL VATVQA CXTR LA_SL b<??NS<ZA@ v<S@ ZMAw…><YAQAYY NSCTXR<\TS” that
           AS?TaX<LA@ Ya?M VTYN\TSYm “Vaccines,” he noted “represent, in addition to other
           treatments that need to be developed, the most reasonable solution for the
           prevention of the disease."

       24. Thus, the const<SZ ZA<?MNSL <S@ RAYY<LNSL CXTR 1TVA 'X<S?NY TbAX  -2022 was that
           the COVID-19 vaccines were not only morally acceptable, but they were in fact morally
           T>QNL<ZTXe <S@j AbAS CaXZMAXj < LASAXTaY <?Z TC $MXNY\<S ?M<XNZe @NXA?ZA@ ZTc<X@ ZMA
           VXTRT\TS TC ZMA ?TRRTS LTT@ >TZM NS TaX TcS ?TRRaSN\AY <S@ <?XTYY ZMA LQT>Am )A
           R<S@<ZA@ ZM<Z <QQ 7<\?<S City employees be vaccinated and championed universal
           access to the vaccines, especially for the poor.

         #m 5MA $TSLXAL<\TS CTX ZMA %T?ZXNSA TC ZMA '<NZM

       25. The CongreL<\TS CTX ZMA %T?ZXNSA TC ZMA '<NZM t$%'u ?TS?aXXA@ cNZM 1TVA 'X<S?NYm 5MA
           oldest of the Roman Curia's dicasteriesj ZMA $%' is responsible for the oversight of all
           R<^AXY XAQ<ZA@ ZT @T?ZXNSAj C<NZM, and morals throughout the Catholic Church.19 In
           December 20, 2020, the $%' issued a statement addressing the moral acceptability of
           the COVID-19 vaccinesj AS\ZQA@ “/TZA TS ZMA .TX<QNZe TC 6YNSL 4TRA "S\-COVID-19
           Vaccines.” 20 5MAe <S<QefA@ ZMA CaQQ YQ<ZA TC b<??NSAY ZM<Z M<@ >AAS NS VXT@a?\TS YNS?A

16
     Allen, “7<\?<S *YYaAY 7<??NSA .<S@<te for All Employees.”


  $Q<NXA (N<SLX<bBj “7<\?<S 5NLMZASY $07*%- 3AYZXN?\TSYj "VVQNAY .<S@<ZTXe 7<??NS<\TSj” Religious News
2;KQB9; (January 12, 2022), M^VYlrrXAQNLNTSSAcYm?TRr  rr rb<\?<S-\LMZASY-covid-19-XAYZXN?\TSY-applies-
mandatory-b<??NS<\TSr.

18
  Associated Press, “0S $07*% 7<??NS<\TSYj 1TVA 4<eY )A<QZM $<XA NY < ‘.TX<Q 0>QNL<\TSj’” NPR (January 10,
2022), M^VYlrrcccmSVXmTXLr  rrrrTS-covid-b<??NS<\TSY-pope-says-health-care-is-a-moral-
T>QNL<\TS.

19
  See “Dicastery for thA %T?ZXNSA TC ZMA '<NZMj”
M^Vlrrcccmb<\?<Smb<rXTR<Ss?aXN<r?TSLXAL<\TSYr?C<NZMr@T?aRASZYrX?s?TSs?C<NZMsVXTssASmMZRQ. The
TXL<SNf<\on’s name was changed from the “$TSLXAL<\TS CTX ZMA %T?ZXNSA TC ZMA '<NZM” to the “Dicastery for the
%T?ZXNSA TC ZMA '<NZM” in 2022. Per footnote 5 above, dicasteries could be considered analogous to US government
AdA?a\bA @AV<XZRASZYj cNZM <aZMTXNZe TbAX <YVA?ZY TC ZMA ?MaX?M ZM<Z C<QQ aS@AX ZMANX <XA< TC AdVAX\YAm *SYTC<X <Y
ZMA $%' <@Oa@N?<ZAY ZMA $MaX?M’s doctrine and moral law, it could be considered analogous to the US Supreme
Court.

20
     $TSLXAL<\TS CTX ZMA %T?ZXNSA TC ZMA '<NZMj “Note on the MoraQNZe TC 6YNSL 4TRA "S\-Covid-19 Vaccines,”

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            the beginning of the pandemicj NS?Qa@NSL 1EfAXj .T@AXS<j "YZX<;ASA?<j +TMSYTS <S@
            Johnson. ,STcNSL that some of the vaccines had been produced using two cell lines
            CXTR CAZaYAY <>TXZA@ NS  <S@ j they concluded that all the vaccines were
            morally acceptable.

       26. 4VA?NE?<QQe, they stated: “BM BL FHK7EET 799;JM78E; MH K;9;BQ; $HQB:-]^ Q799BG;L MA7M A7Q;
           PL;: 9;EE EBG;L =KHF 78HKM;: =;MPL;L BG MA;BK K;L;7K9A 7G: JKH:P9NHG JKH9;LL” (§2, italics
           in originalum 5MAe ?TS\SaAd that due to the “grave danger” presented by the
           “uncontainable spread of a serious pathological agent—in this case, the pandemic
           spread of the SARS-CoV2 virus that causes Covid-19,” “all b<??NS<\TSY XA?TLSNfA@ <Y
           ?QNSN?<QQe Y<CA <S@ ADA?\bA ?<S >A aYA@ in good conscience with the certain knowledge
           MA7M MA; PL; H= LP9A Q799BG;L :H;L GHM 9HGLNMPM; =HKF7E 9HHJ;K7NHG RBMA MA; 78HKNHG
           CXTR cMN?M ZMA ?AQQY aYA@ NS VXT@a?\TS TC ZMA b<??NSAY @AXNbA” (§3, italics in the original,
           emphasis added). And they emVM<YNfAd ZM<Z cMNQA b<??NS<\TS—like all medical
           NSZAXbAS\TSY <S@j NS C<?Zj <QQ RTX<Q <?\TSY—is voluntary, “from the ethical point of view,
           MA; FHK7EBMT H= Q799BG7NHG :;J;G:L GHM HGET HG MA; duty to protect one’s own health,
           but also on the duty to pursue the common good” (§5, italics in the original). It is
           NRVTXZ<SZ ZT STZA MAXA ZM<Z ZMA $%' XACAXY ZT XA<YTSY CTX >ANSL b<??NS<ZA@ <Y “@a\AYm” A
           @aZe NY <S T>QNL<\TSm

         m "Y NY ?QA<X CXTR ZMA <>TbAj ZMA $%' stated clearly that the COVID-19 vaccines could be
            used in good conscience. *S ZMA VASaQ\R<ZA V<X<LX<VM TC ZMA @T?aRASZj ZMA $%'
            XA?TLSNfAY ZM<Z YTRA people R<e XACaYA b<??NS<\TS CTX XA<YTSY TC ?TSY?NAS?Aj >aZ ZMAe
            do not endorsej AS?TaX<LAj TX <HXR ZMNY VTYN\TSm *SYZA<@j ZMAe state that these persons
            “must do their utmost to avoN@j >e TZMAX VXTVMeQ<?\? RA<SY <S@ <VVXTVXN<ZA >AM<bNTXj
            >A?TRNSL bAMN?QAY CTX ZMA ZX<SYRNYYNTS TC ZMA NSCA?\TaY <LASZm *S V<X\?aQ<Xj ZMAe RaYZ
            avoid any risk to the health of those who cannot be vaccinated for medical or other
            reasons, and who are the most vulnerable.” 21 In other words, the onus is on those who
            refuse.

       28. &?MTNSL 1TVA 'X<S?NYj ZMA $%' also states that there is “< RTX<Q NRVAX<\bA CTX ZMA
           VM<XR<?Aa\?<Q NS@aYZXej LTbAXSRASZY <S@ NSZAXS<\TS<Q TXL<SNf<\TSY to ensure that
           Q799BG;LX RAB9A 7K; ;>;9NQ; 7G: L7=; =KHF 7 F;:B97E JHBGM H= QB;RX 7L R;EE 7L ;MAB97EET
           acceptable, are also accessible to the poorest countries in a manner that is not costly for
           them” (§6, italics in the original). "L<NSj ZMA $%' cTaQ@ STZ XA?TRRAS@ aSNbAXY<Q <??AYY
           as “< RTX<Q NRVAX<\bA” NC NZ MAQ@ ZM<Z ZMA b<??NSAY cAXA NS <Se c<e RTX<QQe VXT>QAR<\?m




(December 12, 2020),
M^VYlrrcccmb<\?<Smb<rXTR<Ss?aXN<r?TSLXAL<\TSYr?C<NZMr@T?aRASZYrX?s?TSs?C<NZMs@T?s      sSTZ<-
vaccini-<S\?TbN@sASmMZRQ.

21
     Ibid., §5.


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       29. Thus, the Church’s highAYZ @T?ZXNS<Q TH?A made clear that the COVID-19 vaccines were
           RTX<QQe <??AVZ<>QAk ZM<Z ZMAe ?TaQ@ >A aYA@ NS LTT@ ?TSY?NAS?Ak ZM<Z ZMAXA c<Y < @uty to
           use them to protect the fundamental goods of health (one’Y TcS <S@ TZMAXYuk <S@ ZM<Z NZ
           was morally impAX<\bA ZM<Z ZMAe >A R<@A aSNbAXY<QQe <b<NQ<>QAm

          C. 5MA %N?<YZAXe CTX ZMA 1XTRT\TS TC *SZALX<Q )aR<S %AbAQTVRASZr7<\?<S $07*%-19
             Commission <S@ ZMA 1TS\E?<Q "?<@ARe CTX -NCA

       30. As the scope of the pandemic emerged NS .<X?M  j 1TVA 'X<S?NY AYZ<>QNYMA@ ZMA
           7<\?<S $07*%-19 Commission cNZMNS ZMA %N?<YZAXe CTX ZMA 1XTRT\TS TC *SZALX<Q )aR<S
           Development as a novel, rapid response to the pandemic.22 The establishment of this
           Commission denotes the seriousness with whi?M ZMA )TQe '<ZMAX ZTTP ZMA V<S@ARN?.
           That he established it NS@N?<ZAY ZM<Z ZMA cTXP TC ZMNY $TRRNYYNTS M<@ MNY <aZMTXNf<\TS
           and blessing. 5MA $TRRNYYNTS XAVTXZY @NXA?ZQe ZT ZMA )TQe '<ZMAXm

       31. On December 29,  j ZMA 7<\?<S $07*%-19 Commission, in conjuS?\TS cNZM ZMA
           1TS\E?<Q "?<@ARe CTX -NCAj NYYaA@ < -VTNSZ <?\TS VQ<S on b<??NSA AWaNZe AS\ZQA@
           “Vaccine for All. 20 Points for a 'airer and )ealthier World.” 23 t5MA 1TS\E?<Q "?<@ARy
           CTX -NCA NY ZMA 7<\?<S’Y <?<@ARN? >T@e cNZM AdVAX\YA NS WaAY\TSY TC >NTAZMN?Yum Per the
           Commission’s website, the document examined equity across the full spectrum of
           b<??NSA @AbAQTVRASZ <S@ @AVQTeRASZj cNZM < V<X\?aQ<X CT?aY TS <c<XASAYY-building to
           foster trust in vaccines against the COVID-19 virus. 24

       32. The 7<\?<S $07*%- $TRRNYYNTS ?TSEXRA@ <S@ @NY?aYYA@ NS LXA<ZAX @AZ<NQ ZMA
           VTYN\TS TC ZMA $%'. As the Commission notedj 1TVA 'X<S?NY “M<Y <HXRA@ ZMA SAA@ ZT
           make the now imminent Covid-19 vaccines available and accessible to all.” 25 *S <S<QefNSL
           the moral aspects of the “AS\XA ‘life cycle’” TC b<??NSA VXT@a?\TSj ZMA ?TRRNYYNTS
           concluded that “<QQ ?QNSN?<QQe XA?TRRAS@A@ b<??NS<\TSY ?<S >A used with a clear
           conscience and that the use of such va??NSAY @TAY STZ YNLSNCe YTRA YTXZ TC ?TTVAX<\TS
           cNZM bTQaSZ<Xe <>TX\TS” <S@ ZM<Z b<??NS<\TS NY “a moral responsibility.” 26 They reiterate

22
  4AA ZMA 7<\?<S $07*%-19 Commission, M^VYlrrcccmMaR<S@AbAQTVRASZmb<rASrb<\?<S-covid-19.htmlk <S@
7<\?<S $07*%-19 Commission, “2020 :A<X NS 3AbNAcl 1XAV<XNSL ZMA 'aZaXAj”
M^VYlrrcccmMaR<S@AbAQTVRASZmb<r?TSZASZr@<RrYbNQaVVTaR<STrLASAX<Qrb<\?<S-covid19-
XAYVTSYArXAVTXZYr  -EN-AnnualReport-7<\?<S$TbN@$TRRNYYNTSmV@C. "L<NSj < @N?<YZAXe NY TSA TC ZMA AdA?a\bA
departments of the 7<\?<S <@RNSNYZX<\bA YZ<ZAm

23
  7<\?<S $07*%- $TRRNYYNTS <S@ 1TS\E?<Q "?<@ARe CTX -NCAj “7<??NSA CTX "QQm  1TNSZY CTX < '<NXAX <S@
)A<QZMNAX 8TXQ@j” (December 29, 2020),
M^VYlrrVXAYYmb<\?<Smb<r?TSZASZrY<Q<YZ<RV<rASr>TQQA_STrVa>>QN?Tr  r r r  ?mMZRQ

24
     Ibid., §14.

25
     Ibid., §1.

26
     Ibid., §5, emphasis in the original.

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            ZMA ?Q<NR ZM<Z b<??NS<\TS is a “moral responsibility.”  5MAe R<PA ST RAS\TS TC
            AdARV\TSY for reasons of conscience.


         D. US $TSCAXAS?A TC $<ZMTQN? #NYMTVY

       33. Although the US ConferAS?A TC $<ZMTQN? #NYMTVY t64$$#) does not have any
           <aZMTXNZ<\bA YZ<S@NSL NS <S@ TC NZYAQCj <Z \RAY it issues statements that—like all
           magisterial statements—XAWaNXA XAYVA?[aQ ?TSYN@AX<\TS by Catholic individuals and
           TXL<SNf<\TSY in the US.

       34. 0S /TbAR>AX j  j VXNTX ZT ZMA <VVXTb<Q TC ZMA 1EfAX <S@ .T@AXS< b<??NSAY and
           prior to the statements by the $%' <S@ ZMA 7<\?<S $07*%-19 Commission, the 64$$#’s
           “$TRRN^AA TS %T?ZXNSA” NS ?TSOaS?\TS cNZM ZMANX “$TRRN^AA TS 1XT--NCA "?\bN\AY”
           issued a memorandum AS\ZQA@ “Vaccines for COVID-10.” In that memorandum, they
           state clearly: “4TRA <XA <YYAX\SL ZM<t if a vaccine is connected in any way with tainted
           cell lines, then it is immoral to be vaccinated with them. This is an inaccurate portrayal of
           Catholic moral teaching.” 28 They cite as evidence CTX ZMANX VTYN\TS three documents
           NYYaA@ >e 7<\?<S TH?AY prior to the COVID-19 pandemic.

       35. On December 11, 2020, the Chairmen of the 64$$# $TRRN^AA TS %T?ZXNSA <S@
           $TRRN^AA TS 1XT--NCA "?\bN\AY NYYaA@ < CaXZMAX YZ<ZARASZ AS\ZQA@ “Moral
           $TSYN@AX<\TSY 3AL<X@NSL ZMA /Ac $07*%-19 Vaccines.” There they reiterate and expand
           ZMA <>TbA VTYN\TSl

                   In view of the gravity of the current pandemic and the lack of availability
                   TC <QZAXS<\bA b<??NSAYj ZMA XA<YTSY ZT <??AVZ ZMA SAc $07*%-19 vaccines
                   CXTR 1EfAX <S@ .T@AXS< <XA YaH?NASZQe YAXNTaY ZT OaY\Ce ZMANX aYAj
                   @AYVNZA ZMANX XARTZA ?TSSA?\TS ZT RTX<QQe ?TRVXTRNYA@ ?AQQ QNSAYm *S
                   <@@N\TSj XA?ANbNSL ZMA $07*%-19 vaccine ought to be understood as an
                   act of charity toward the other members of our community. In this way,
                   being vaccinated safely against COVID-19 should be considered an act of
                   love of our neighbor and part of our moral responsibility for the common
                   good. 29



     Ibid., §13.

28
  $M<NXRAS TC ZMA 64$$# $TRRN^AA TS %T?ZXNSA <S@ $TRRN^AA TS 1XT--NCA "?\bN\AYj “Memorandum on
Vaccines for COVID-19,” (November 20, 2020), M^VYlrrcccmaY??>mTXLrXAYTaX?AYrRART-to-bishops-on-vaccines-
for-covid-smV@C. Emphasis added.

29
  $M<NXRAS TC ZMA 64$$# $TRRN^AA TS %T?ZXNSA <S@ ZMA $TRRN^AA TS 1XT--NCA "?\bN\AYj “.TX<Q $TSYN@AX<\TSY
Regarding the New COVID-19 Vaccines,” (December 11, 2020), M^VYlrrcccmaY??>mTXLrXAYTaX?AYrRTX<Q-
?TSYN@AX<\TSY-covid-vaccines.pdfm 5MAe @T ?TS?Qa@A ZM<Z ZMA "YZX<;ASA?< $07*%-19 vaccine is “more morally
compromised” and “should be avoided,” but that if it is the only one available to a person, “it would be permissible

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     36. 5MA 64 >NYMTVY ?TS?aX cNZM ZMA 1TVA <S@ ZMA $%'—that all the COVID-19 vaccines are
         RTX<QQe <??AVZ<>QAj ZM<Z LA_SL b<??NS<ZA@ NY <S <?Z TC QTbA t?harity), and that being
         vaccinated is a morally responsibility. 5MAe R<PA ST RAS\TS TC AdARV\TSY for reasons
         of conscience.

     m In summary, the top-level 3TR<S $<ZMTQN? R<LNYZAXN<Q <aZMTXN\AY YVTPA cNZM TSA bTN?A
         regarding the COVID- b<??NSAYm 1TVA 'X<S?is, the Dicastery for the Doctrine of the
         '<NZMj ZMA 7<\?<S $07*%-19 Commission sponsored by the DicaYZAXe CTX 1XTRT\SL
         *SZALX<Q )aR<S %AbAQTVRASZj ZMA 1TS\E?<Q "?<@ARe CTX -NCAj <S@ ZMA 64$$# <QQ
         concurred: (1) that all available COVID-19 vaccines werA RTX<QQe <??AVZ<>QA ZT aYAk t u
         ZM<Z $<ZMTQN?Y M<bA < RTX<Q XAYVTSYN>NQNZej @aZej TX T>QNL<\TS ZT >A b<??NS<ZA@ <L<NSYZ
         COVID-19 in order to protect their own lives and health and the lives and health of
         TZMAXY CXTR < YAXNTaY V<ZMTLAS cNZM ST ADA?\bA ZXA<ZRASZYk tu ZM<Z >ANSL b<??NS<ZA@
         against COVID- c<Y <S <?Z TC QTbAk <S@ tu ZM<Z ZMA $MaX?M YMTaQ@ cTXP cNZM Va>QN?
         >T@NAY ZT ASYaXA aSNbAXY<Q <??AYY ZT b<??NSAYm "Z ST \RA @N@ <Se TC ZMAYA 3TR<S
         $<ZMTQN? <aZMTXN\AY NS  -2022 advocate, recommend, counsel, or approve Catholics
         YAAPNSL AdARV\TSY CXTR b<??NSA R<S@<ZAYm *S C<?Zj 1TVA 'X<S?NY MNRYAQC ?XN\?NfA@ ZMTYA
         who did and sought to persuade them otherwise.

     38. 5Tj ZMAXACTXAj ZT ?TS?Qa@A ZM<Z < ><V\fA@ $<ZMTQN? cTaQ@ >A “required” as a Catholic “to
         refuse a COVID- b<??NS<\TS” XAWaNXAY < YNLSNE?<SZ @NYZTX\TSj RNYaS@AXYZ<S@NSLj TX
         RNYXAVXAYASZ<\TS TC $<ZMTQN? ZA<?MNSLm

     2. 2@; /EHAJED E< I@; -7JED7B $7I@EBA9 #AE;I@A9H $;DI;G

     39. Despite this clear magisterial guidance on the moral acceptability of the COVID-19
         b<??NSAY <S@ ZMA RTX<Q T>QNL<\TS CTX $<ZMTQN?Y ZT >A b<??NS<ZA@j ZMA /<\TS<Q $<ZMTQN?
         #NTAZMN?Y $ASZAX t/$#$)—John Di Camillo’s employer— ZTTP < VTYN\TS X<@N?<QQe <Z T@@Y
         with the Roman Catholic Churchm 5MA /$#$ is a very small, private TXL<SNf<\TS that has
         no <aZMTXNZ<\bA YZ<S@NSL in the ChurcMk ZMAe have no <aZMTXNf<\TS ZT <X\?aQ<ZA
         VTYN\TSY ZM<Z ?TSZX<bASA ZMA ZA<?MNSLY TC ZMA Roman Catholic magisterium.

     40. 5MA /$#$’Y EXYZ YZ<Zement on the COVID- b<??NSAY c<Y NYYaA@ TS %A?AR>AX j 2020—
         prior to the YZ<ZARASZY >e ZMA $%'j ZMA 7<\?<S $07*%- $TRRNYYNTSj <S@ ZMA 64$$#.
         5MNY VTYN\TS V<VAX c<Y AS\ZQA@ “Points to Consider on the Use of COVID-19 Vaccines.” 30



ZT <??AVZ ZMA "YZX<;ASA?< b<??NSAm” 5MNYj MTcAbAXj c<Y VXNTX ZT ZMA @AZAXRNS<\TSY >e ZMA $%' <S@ ZMA 7<\?<S
COVID-19 Commission.

30
  /$#$j “Points to Consider on the Use of the COVID-19 Vaccines,” (December 8, 2020),
M^VYlrrYZ<\?mYWa<XAYV<?Am?TRrYZ<\?rA<@<<< A@<@@?@rZrC@?AA@@Ar
 r/$#$7<??NSA4Z<ZARASZ'*/"-mV@C.


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             Rather than being in ?TSbAXY<\TS cNZM ZMA ?aXXASZ 3TR<S $<ZMTQN? R<LNYZAXNaRj NZ @XAc
             on older magisterial documents. 31

       41. Their statement opens with the sentence: “5MA /$#$ XA?TLSNfAY <S AZMN?<Q MNAX<X?Me
           among COVID-19 vaccines.” 32 In other words, they state clearly that this is their own
           VTYN\TS <S@ STZ Roman Catholic teaching.

       42. This posited “ethical hierarchy” among the COVID-19 vaccines is based on a pseudo-
           ‘Wa<S\Z<\bA’ XAQ<\TSYMNV between the vaccines and cell-lines used in vaccine research,
           ZAY\SLj <S@ R<SaC<?ZaXNSL Zhat were derived from two aborted fetuses in the late 1960s
           <S@ A<XQe Ym33 Per their calculus, vaccines can be more or less “morally
           compromised” based on: (1) whether these cell lines were used in the manufacturing
           process (most “morally compromised,” AmLmj "YZX<;ASA?<j +TMSYTS | +TMSYTSuk t u
           whether said-cell lines were not used in the manufacturing process but in, perhaps, the
           ZAY\SL VM<YA tRA@N<QQe “morally compromised,” AmLmj 1EfAXj .T@AXS<j /Tb<b<dj 4NSTEuk
           or (3) whether said-cell lines were not used at all (‘morally pure’). 34

       43. In their conclusion, they do state that “ZMA /$#$ ?TS?Qa@AY ZM<Z none of the vaccines
           currently in development is excluded or forbidden in principle.”35 #aZ ZMAy then go on to
           ?<ZALTXNfA ZMA vaccines in groups (1) and (2) above as “lesser” and “graver” evils. They
           LNbA ZMA NRVXAYYNTS ZM<Z ZMAYA b<??NSAY <XA YTRAMTc RTX<QQe VXT>QAR<\?m 5MAe CaXZMAX
           state that anyone who decides to receive such vaccines “should do so only ‘under
           protest’ and should make known their opposN\TS ZT <>TX\TS <S@ ZT ZMA aYA TC <>TX\TS-
           derived cell lines.” 36 5MAe ?TS\SaA ZM<Z the >A^AX moral course is “to provide witness by
           @A?QNSNSL <Se b<??NSA ZM<Z aYAY <>TX\TS-derived cell lines in one or more phases of
           @AbAQTVRASZ TX VXT@a?\TSm 4a?M < @ecision can be made in good conscience…” 

       44. "QZMTaLM ?TSY?NAS?A NY TSQe RAS\TSA@ TS?A NS ZMANX @T?aRASZj NZ NY RAS\TSA@ CTaX
           \RAY NS ZMAir AdA?a\bA YaRR<Xe:


31
     5MA /$#$ YZ<ZARASZ ?NZAY R<LNYZAXN<Q @T?aRASZY CXTR  <S@ m

32
     /$#$j “Points to Consider on the Use of the COVID-19 Vaccines,” p. 1, emphasis added.

33
  4AAj CTX Ad<RVQAj < ?M<XZ ?TRVNQA@ >e ZMA $M<XQT^A -TfNAX *SY\ZaZA ZM<Z YNRNQ<XQe CT?aYAY TS ZMNY NYYaAl “COVID-19
7<??NSA $<S@N@<ZAY <S@ ">TX\TS-Derived Cell Lines,” M^VYlrrQTfNAXNSY\ZaZAmTXLrcV-
?TSZASZraVQT<@Yr  rr$)"35-Analysis-of-COVID-19-Vaccines-02June21.pdf.

34
     /$#$j “Points to Consider on the Use of the COVID-19 Vaccines,” p. 5.

35
     Ibid., p. 5, emphasis added.

36
     Ibid., p. 6.


     Ibid., p. 8, emphasis added.


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                   Nonetheless, for grave reasons, people could decide in good conscience
                   ZT <??AVZ b<??NSAY ZM<Z aYA <>TX\TS-derived cell lines in their
                   @AbAQTVRASZ <S@ VXT@a?\TS ZT VXTZA?Z ZMANX TcS QNbAY <S@ MA<QZM <S@
                   ZM<Z TC TZMAXY NS ZMA <>YAS?A TC <Se Y<\YC<?ZTXe <QZAXS<\bAm 5MA aYA TC <S
                   AZMN?<QQe VXT>QAR<\? b<??NSAj MTcAbAXj R<e be done only ‘under
                   protest.’ A person who discerns in conscience that he or she can take
                   Ya?M < b<??NSA M<Y <S T>QNL<\TS ZT R<PA PSTcS MNY TX MAX TVVTYN\TS ZT
                   <>TX\TS <S@ ZMA aYA TC <>TX\TS-derived cell lines. People may
                   QALN\R<ZAQe @NY?AXS NS conscience that they cannot use a vaccine with
                   YTRA ?TSSA?\TS ZT <>TX\TS <S@ Ya?M < XACaY<Q ?<S >A < ?TaX<LATaY
                   witness to help build a culture of life. The Catholic Church neither
                   XAWaNXAY STX CTX>N@Y ZMA aYA TC AZMN?<QQe VXT>QAR<\? b<??NSAYj >aZ NSYZA<@
                   urgAY VATVQA ZT @NY?AXS cM<Z @A?NYNTS ZT R<PA <KAX M<bNSL ?<XACaQQe
                   formed their consciences <>TaZ ZMA RTX<Q <S@ VXa@AS\<Q NYYaAY
                   surrounding the vaccines that become available. v&RVM<YAY <@@A@w

       45. In sum, in early December 2020, ZMA /$#$ ZTTP ZMA VTYN\TS ZMat all of the available
           COVID-19 vaccines were “morally compromised,” that Catholics could receive them but
           only “under protest,” and that the more morally preferable or pure VTYN\TS c<Y ZT
           refuse them. 5MAe YNRVQe <YYAXZ ZM<Z ZMNY NY < R<^AX TC ?TSY?NASce.

       46. They <XXNbA@ <Z ZMNY VTYN\TS VXNTX ZT ZMA NYYaNSL TC ZMA YAXNAY TC <aZMTXNZ<\bA R<LNYZAXN<Q
           YZ<ZARASZY @AZ<NQA@ NS 4A?\TS II.1 above. )TcAbAXj <KAX these statements were issued
           (December 11-29, 2020), ZMA /$#$ did not revise ZMANX VTYN\TSm

       m Instead, explicitly contravening Roman Catholic magisterial authority, they doubled-
           down on it. They spearheaded ADTXZY ZT <@b<S?A their alternate VTYN\TS and to
           ?TSbNS?A $<ZMTQN?Y ZT XAWaAYZ XAQNLNTaY AdARV\TSY from COVID-19 vaccine
           requirements. In Jule  j ZMAe ?XA<ZA@ <S@ <?\bAQe @NYYARNS<ZA@ a “Vaccine
           EdARV\TS 5ARVQ<ZA -A^AX” that they sent to bishops, <@bAX\YA@ NS V<XNYM >aQQA\SY, and
           distributed through social media networks. 38

       48. That template includes numerous misleading or erroneous YZ<ZARASZYm 'TX Ad<RVQAj it
           references ZMA $%'’s 200 *SYZXa?\TS AS\ZQA@ %B@GBM7NL 0;KLHG7; t0S $AXZ<NS #NTAZMN?<Q
           2aAY\TSYu to support the statement:

                   There is a general moral duty to refuse the use of medical products,
                   including certain vaccines, that are produced using human cells lines
                   derived from direct abortions. It is permissible to use such vaccines


38
     /$#$j “7<??NSA &dARV\TS 5ARVQ<ZA -A^AXj” (July , 2021), M^VYlrrcccmS?>?ASZAXmTXLrS?>?-SAcYrb<??NSAQA^AX.


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                    only under certain case-specific conditions, based on a judgment of
                    conscience.

           %B@GBM7NL 0;KLHG7; says nothing of the sort. In fact, it says the opposite. 8MNQA <S<QefNSL
           at length ZMA XAYVTSYN>NQN\AY TC research professionals vis a vis such cell lines, with
           XAL<X@ ZT V<\ASZY NZ RAXAQe states: “(X<bA XA<YTSY R<e >A RTX<QQe VXTVTX\TS<ZA ZT
           OaY\Ce ZMA aYA TC Ya?M ‘biological material.’ Thus, for example, danger to the health of
           children could permit parents to use a vaccine which was developed using cell lines of
           illicit origin….” 39 In other words, the $%' @AY?XN>AY no “general moral duty to refuse the
           aYA TC vYa?Mw RA@N?<Q VXT@a?ZYqk NZ NSYZA<@ AdVQN?NZQe L<bA V<\ASZY VAXRNYYNTS ZT aYA
           them. I know of nowhere in the <aZMTXNZ<\bA $<ZMTQN? RTX<Q ZX<@N\TS cMAXA <Se Ya?M
           “general moral duty” NY <X\?aQ<ZA@m

       49. This is jusZ TSA Ad<RVQA TC ZMA c<e ZM<Z ZMA /$#$’Y b<??NSA AdARV\TS ZARVQ<ZA @NYZTXZY
           or misrepresents Catholic teaching. It is important to note that ZMA /$#$ was Y\QQ
           VXAYAS\SL Ya?M C<aQZe LaN@<S?A YAbAS RTSZMY <KAX ZMA $%'j ZMA 7<\?<S $07*%-19
           Commission, an@ ZMA 64$$# had issued their statements and in spite of the constant
           RAYY<LNSL TC 1TVA 'X<S?NY cMN?Mj <Y TaZQNSA@ A<XQNAXj ZTTP < X<@N?<QQe @NDAXASZ VTYN\TS.
           $Xa?N<QQej ZMANX b<??NSA AdARV\TS ZARVQ<ZA—cMN?M NY AdVQN?NZQe N@AS\EA@ <Y >ANSL for
           ><V\fA@ Catholics—makes no RAS\TS TC 1TVA 'X<S?NY <S@ ST RAS\TS TC <Se TC ZMA
           other documents, except for TSA QNSA Z<PAS TaZ TC ?TSZAdZ CXTR ZMA $%' YZ<ZARASZ tsee
           4A?\TS **.3 below).

       3. 0;8NLD? %A $7CABBE’H 1F;9A>9 $B7ACH

       50. "Y RAS\TSA@ A<XQNAXj Di Camillo is an employee of the /$#$ <S@ <YYNYZA@ NS developing
           ZMANX b<??NSA AdARV\TS ZARVQ<ZA.40 )A ?TS?Qa@AY MNY TVNSNTS ZM<Z “ZM<Z NCj <KAX @aA
           @NQNLAS?A NS YAAPNSL TaZ <S@ ?XN\?<QQe <YYAYYNSL RA@N?<Q <S@ RTX<Q NSCTXR<\TS
           pertaining to COVID-19 and the vaccines, Nicholas Rolovich came to a sure judgment in
           conscience that he should not receive a COVID-19 vaccine, then the teachings of the
           Catholic Church required that he refuse the vaccine.” 41 )NY ?TS?QaYNTS NY ><YA@ TS ZMXAA
           VXARNYAYl 3TR<S $<ZMTQN? ZA<?MNSL TS ?TSY?NAS?Ak cM<Z MA XACAXY ZT <Y ZMA “principle of
           ZMAX<VAa\? VXTVTX\TS<QNZeqk and his assessment of Roman Catholic teaching on
           b<??NS<\TSYm

       51. *S Re TVNSNTSj MNY VXAYASZ<\TS TC A<?M TC ZMAYA VXARNYAY NY ANZMAX incomplete or deeply
           I<cA@m )A TRNZY RaQ\VQA ?ASZX<Q aspects of the Roman Catholic teaching on


39
     $TSLXAL<\TS CTX ZMA %T?ZXNSA TC ZMA '<NZMj %B@GBM7NL 0;KLHG7;, §35.

40
     Di Camillo, no. 14.

41
     Di Camillo, STm j ARVM<YNY <@@A@m


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            conscience. 42 )NY “principle of ZMAX<VAa\? VXTVTX\TS<QNZe” is N@NTYeS?X<\?m )A TRNZY TSA
            of the most central principles of Catholic bioethics CTX MAQVNSL V<\ASZY to make morally-
            NSCTXRA@ @A?NYNTSY <>TaZ RA@N?<Q NSZAXbAS\TSY—namely, the principle of ordinary and
            extraordinary means. And his analysis completely ignores the teaching of the Roman
            Catholic magisterium regarding the moral acceptability of the COVID-19 vaccines and
            ZMA RTX<Q T>QNL<\TS CTX $<ZMTQN?Y ZT >A b<??NS<ZA@.

       (A) Di Camillo Ignores the Relevant Teachings of the Roman Catholic Magisterium Regarding
           the Moral Acceptability of the COVID-19 Vaccines

       52. Di Camillo’s opinion fails to RAS\TS any of the teaching of the Roman Catholic
           magisterium regarding the moral acceptability of the COVID-19 vaccines and the moral
           T>QNL<\TS TC $<ZMTQN?Y ZT >A b<??NS<ZA@ @AZ<NQA@ NS 4A?\TS II.1 above. )A @TAY cite one
           cherry-VN?PA@ YASZAS?A CXTR ZMA $%'’s “Note on the Morality of Using Some COVID
           Vaccines,” but he uses in a misleading way tYAA 4A?\TS **mt%u >AQTcu. 43 The use of this
           footnote indicates that Di Camillo is familiar with ZMA $%' document but chose to ignore
           its content. )NY opinion ZMAXACTXA LNbAY ZMA NRVXAYYNTS ZM<Z ZMAXA c<Y ST <aZMTXNZ<\bA
           magisterial teaching on the moral <??AVZ<>NQNZerT>QNL<ZTXNSAYY of the COVID-19 vaccines
           that would have established for a ><V\fA@ 3TR<S $<ZMTQN? cM<Z the Roman Catholic
           VTYN\TS TS ZMNY WaAY\TS c<Y NS "aLaYZ  .

       t#u Di Camillo Misrepresents Roman Catholic Teaching on Conscience

       53. Di Camillo’s argument centers on Roman Catholic teaching on conscience. The Roman
           $<ZMTQN? ZX<@N\TS VXTbN@AY < XN?Mj ?TRVQAdj <S@ Sa<S?A@ aS@AXYZ<S@NSL TC ?TSY?NAS?Am *S
           my opinion, Di Camillo’s opinion distorts ZMNY ZX<@N\TS >e VXAYAS\SL TSQe < V<X\<Q
           account. )NY opinion relies <QRTYZ AS\XAQe TS the short entry on “moral conscience” in
           The Catechism of the Catholic Church. 44 )A omits < PAe YA?\TS TC ZM<Z ASZXek Z<PAs that

42
  0ZMAX XAVaZ<>QA <S@ ?XA@AS\<QA@ $<ZMTQN? >NTAZMN?NYZY M<bA <QYT ?XN\WaA@ ZMA /$#$rDi Camillo VTYN\TS <S@
?TS?aX cNZM ZMA XA<YTSNSL VXAYASZA@ NS ZMNY XA>a^<Qm 4AA AmLmj +<YTS 5m &>AXQ <S@ 5T>N<Y 8NSXNLMZj “$<ZMTQN?Y )<bA
/T (XTaS@Y ZT $Q<NR &dARV\TS CXTR $07*% 7<??NSA .<S@<ZAYj” NCR ("aLaYZ j  ),
M^VYlrrcccmS?XTSQNSAmTXLrSAcYr?TXTS<bNXaYr?<ZMTQN?Y-have-no-grounds-claim-AdARV\TS-covid-vaccine-
mandates. Peter J. Cataldo VXTbN@AY < V<X\?aQ<XQe ZMTXTaLM ?XN\WaA TC ZMA /$#$’Y RNYNSZAXVXAZ<\TS TC $<ZMTQN?
teaching in “8Me ZMA $%' ‘/TZA TS ZMA .TX<QNZe TC 6YNSL 4TRA "S\-COVID-19 Vaccines’ Suggests a Moral
0>QNL<\TS ZT 3A?ANbA 4"34-COV-2-Vaccines,” )$&42" j STm t'<QQ  uj
M^VYlrrcccm?M<aY<mTXLrVa>QN?<\TSYrMA<QZM-care-ethics-aY<r<X?MNbArNYYaArC<QQ-  rcMe-the-cdf-note-on-the-
morality-of-using-some-<S\-covid-19-vaccines-suggests-a-moral-T>QNL<\TS-to-receive-sars-cov-2-vaccines.

43
     Di Camillo, fn. 22, p. 35.

44 The Catechism of the Catholic Church is a “catechism”—an introductory summary of the teachings of the

Catholic Church. Insofar as it only presents a basic account of church teaching, it is generally not used in
professional theological analysis. The Catechism was fully revised in 1992 and is periodically updated as Church
teaching evolves. The Catechism NY <b<NQ<>QA TSQNSA bN< ZMA 7<\?<S cA>YNZAl
M^VYlrrcccmb<\?<Smb<r<X?MNbAr&/(rs*/%&9m)5..


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           entry out of context of relevant teachings in the Catechism NZYAQCk and similarly omits to
           RAS\TS <YVA?ZY TC 3TR<S $<ZMTQN? ZA<?MNSL TS ?TSY?NAS?A @AZ<NQA@ NS other
           <aZMTXNZ<\bA ?MaX?M @T?aRASZY ZM<Z he cites. In the following, l detail what he has
           TRN^A@.

           (1) %N $<RNQQT 0RNZY < ,Ae 4A?\TS TC ZMA Catechism’s Entry on “Moral Conscience”

       54. The Catechism of the Catholic Church YaRR<XNfAY ZMA $MaX?M’s teaching on conscience
           in §§-1802.45 These paragraphs outline four aspects of the Church’s teaching: what
           conscieS?A NYk ZM<Z <S@ MTc ?TSY?NAS?A NY ZT >A CTXRA@k MTc ZT ?MTTYA NS <??TX@ cNZM
           ?TSY?NAS?Ak <S@ AXXTSATaY Oa@LARASZm

       55. Di Camillo’s opinion repeats claims from §§- NS < YaVAXE?N<Q <S@ YAQA?\bA
           R<SSAXm )A ?TXXA?ZQe states that conscience is held to be an important human faculty, 46
           but he @TAY STZ ARVM<YNfA ZM<Z ?TSY?NAS?A NY ?Xa?N<QQe “a judgement of reason.”  )A
           YAQA?\bAQe MNLMQNLMZY sentences about a person’s “duty” to obey one’s conscience (the
           Catechism does not use the word “duty”). 48

       56. )A XAVXNYAY V<XZY TC ZMA Catechism’s ARVM<YNY TS ZMA CTXR<\TS TC ?TSY?NAS?Am 49 )A ?NZAs
           TSA TC ZMA PAe ARVM<YAY TC ZMNY YA?\TS—namely, that to form one’s conscience well
           requires XAYVA?[aQ @N<QTLaA cNZM “ZMA <aZMTXNZ<\bA ZA<?MNSL TC ZMA $MaX?M” 50k <S@
           further that “5MA A@a?<\TS TC ?TSY?NAS?A NY NS@NYVASY<>QA CTX MaR<S >ANSLY cMT <XA
           Ya>OA?ZA@ ZT SAL<\bA NSIaAS?AY <S@ ZARVZA@ >e YNS to prefer their own judgement and
           ZT XAOA?Z <aZMTXNZ<\bA ZA<?MNSLY.” 51 #aZj although he quotes these passages, they play
           no role in his analysis.

       m )NY summary of the Church’Y VTYN\TS TS ?TSY?NAS?A AS@Y cNZM ZMA EXYZ YASZAS?A CXTR
           §l pA human being must always obey the certain judgement of his conscience.”
           5M<Z NY ZMA EXYZ QNSA of <S YA?\TS TS “Erroneous Judgement,” < YA?\TS ZM<Z he omits in



45
  Catechism of the Catholic Church, “Moral Conscience,” §§-1802,
M^VlrrcccmY?>TXXTRATmTXLr???rVY?<mMZR.

46
     Di Camillo, nos. 21-24.


     Catechism of the Catholic Church, §.

48
     Di Camillo, nos. 25- m

49
     Di Camillo, nos. 28-29.

50
     Catechism of the Catholic Church, xj x.

51
     Catechism of the Catholic Church, x, emphasis added.


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           NZY AS\XAZe. 52 Catholic teaching holds that simply because one chooses in accord with
           one’s conscience, that does not mean that one has chosen correctly or morally. 53 As the
           Catechism notes, conscience can be wrong due to ignorance 54 or personal
           responsibility. 55 *Z YZ<ZAY YVA?NE?<QQel “In such cases, the person is culpable for the evil he
           commits.” 56 Among “the sources of errors of judgement in moral conduct,” the
           Catechism includes: “iLSTX<S?A v@aA ZTw…when a man ‘Z<PAY QN^QA ZXTa>QA ZT ES@ TaZ
           what is true and good’” as well as “bad example given by others, enslavement to one’s
           passions, <YYAX\TS TC < RNYZ<PAS ST\TS TC <aZTSTRe TC ?TSY?NAS?Aj XAOA?\TS TC ZMA
           Church’s authority and her teaching, lack of conversion and charity.”  If the person is
           not responsible for their errors, they are less culpable, but ZMANX <?\TS “remains no less
           <S AbNQj < VXNb<\TSj < @NYTX@AX.” 58 It remains the responsibility of all to “correct the errors
           of moral conscience” in themselves and others. 59

       58. Therefore, just because one follows one’s conscience does not mean that one’s
           conscience was correct or that one’Y <?\TS c<Y RTX<QQe LTT@m In ad@N\TS, as Peter
           Cataldo, < ?TSYAXb<\bA <S@ XAYVA?ZA@ Catholic bioethicist, STZAYj ZMA T>QNL<\TS ZT CTQQTc
           one’s conscience “does not include a certain conscience that is based on negligent
           ignorance of the facts. The only erring judgement of conscience ZT cMN?M TSA NY Y\QQ
           morally bound to follow is that judgement in which one is excusably ignorant of the
           facts.” 60 .TXA YVA?NE?<QQel

                    $<ZMTQN? ZA<?MNSL XA?TLSNfAY ZM<Z ZMA VXTVAX CTXR<\TS TC ?TSY?NAS?A NS V<XZ
                    relies on MaR<S XA<YTSk NS ZMA ?TSZAdZ TC b<ccines for SARS-CoV-2, the resources
                    TC XA<YTS TS cMN?M ZMA CTXR<\TS TC ?TSY?NAS?A @AVAS@Y NS?Qa@A VAAX-reviewed
                    Y?NAS\E? AbN@AS?A VXAYASZA@ >e QALN\R<ZA Y?NAS\E? YTaX?AY <S@ <aZMTXN\AYm 5MA
                    RTX<Q T>QNL<\TS ZT T>Ae TSAzY ?AXZ<NS ?TSY?NAS?A NY applicable if, and only if, one


52
     Catechism of the Catholic Church, §§-.

53
  “'<?A@ cNZM < RTX<Q ?MTN?Aj ?TSY?NAS?A ?<S R<PA ANZMAX < XNLMZ Oa@LARASZ NS <??TX@<S?A cNZM XA<YTS <S@ ZMA
divine law, or, on the contrary, an erroneous judgement that departs from them” (§).

54
     Catechism of the Catholic Church, §.

55
     Catechism of the Catholic Church, §m

56
     Catechism of the Catholic Church, §m


     Catechism of the Catholic Church, §1-2, emphasis added.

58
     Catechism of the Catholic Church, §m

59
     Catechism of the Catholic Church, §m

60
     Cataldo, 2023, ?N\SL 5MTR<Y Aquinas, Summa Theologica, I-II, q. 19, a. 5, a. 6.


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                    has a certain conscience that is not negligently ignorant of the facts. 61

       59. Thus, Di Camillo AS\XAQe TRNZY ZMA Catechism’s teaching that conscience can be wrong
           as well as Catholic teaching on negligent (or “vincible”) ignorance. Nor does he discuss a
           person’s responsibility to accept the consequences of following their conscience,
           whether their conscience was correct or not t* cNQQ <@@XAYY ZMNY CaXZMAX NS 4A?\TS **m
           below).

           (2) Di Camillo Omits the Catechism’s Statements that ConscNAS?A 'TXR<\TS 3AWaNXAY
               "@MAXAS?A ZT "aZMTXNZ<\bA $MaX?M 5A<?MNSL

       60. "Y RAS\TSA@ <>TbAj Di Camillo cites the Catechism’s ?TaSYAQ ZM<Z VXTVAX CTXR<\TS TC
           conscience requires adhering ZT ZMA <aZMTXNZ<\bA ZA<?MNSLY TC ZMA $MaX?M <S@ ZM<Z for
           Catholics to reject said-teachings is a sin. #aZ MA ZMAS VXT?AA@s to ignore this
           component. This omission becomes even more glaring when one reads the entry on
           moral conscience in context of the Catechism as a whole, as of course, one must. 'TX ZMA
           Catechism repeatedly ARVM<YNfAY that individual Catholics are required to follow the
           LaN@<S?A TC <aZMTXNZ<\bA $<ZMTQN? ZA<?MNSLj V<X\?aQ<XQe to the guidance of the Pope. To
           give just a few examples, as the Catechism notes elsewhere:

                    When “ZMA #NYMTV TC 3TRA…proposes in the exercise of the ordinary
                    .<LNYZAXNaR < ZA<?MNSL ZM<Z QA<@Y ZT >A^AX aS@AXYZ<S@NSL TC C<NZM <S@
                    morals…the faithful ‘are to adhere to it with religious assent.’” 62

                    The faithful “have the duty of observing the constitutions and decrees conveyed
                    by the legitimate authority of the Church. Even if they concern disciplinary
                    matters, these determinations call for docility in charity.” 63

                    “At the same time the conscience of each person should avoid confining itself to
                    individualistic considerations in its moral judgments of the person's own acts. As
                    far as possible conscience should take account of the good of all, as expressed in
                    the moral law, natural and revealed, and consequently in the law of the Church
                    and in the authoritative teaching of the Magisterium on moral questions.
                    Personal conscience and reason should not be set in opposition to the moral law
                    or the Magisterium of the Church.” 64

61
  Ibid. The Catechism says nothing about ‘?XN\?<QQe <YYAYYNSL NSCTXR<\TS CXTR b<XNTaY YTaX?AY’ or “judgements
about the credibility of sourcesqk that is Di Camillo’s V<X\?aQ<X LQTYY <S@ ZMA R<NS ?XNZerion he uses to evaluate Mr.
Rolovich’s decision, even though he does not review any component of Mr. Rolovich’s decision-making process (Di
Camillo, no. 30).

62
     Catechism of the Catholic Church, §892, emphasis added.

63
     Catechism of the Catholic Church, § , emphasis added.


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            (3) %N $<RNQQT 0RNZY ZMA 4A?TS@ 7<\?<S $TaS?NQ’s Teaching that Individual Conscience
                'TXR<\TS 3AWaNXAY "@MAXAS?A ZT "aZMTXNZ<\bA $MaX?M 5A<?MNSL

       61. The Catechism draws these statements CXTR ZMA $<ZMTQN? ZX<@N\TS RTXA >XT<@Qej
           including two <aZMTXNZ<\bA documents that Di Camillo cites in his report. 'NXYZ, Di Camillo
           cites two lines from the 4A?TS@ 7<\?<S $TaS?NQ’s %A?Q<X<\TS %B@GBM7NL Humanae to
           suggest that a person ought not be prevented from following her or his conscience. 65
           #aZ MA TRNZY ZMA $TaS?NQ’Y ?QA<X <S@ YVA?NE? @NXA?\bA ZM<Zl

                     *S ZMA CTXR<\TS TC ZMANX ?TSY?NAS?AYj ZMA $MXNY\<S C<NZMCaQ TaLMZ ?<XACaQQe ZT
                     <^AS@ ZT ZMA Y<?XA@ <S@ ?AXZ<NS @T?ZXNSA TC ZMA $MaX?M….It is her duty to give
                     a^AX<S?A ZTj <S@ <aZMTXNZ<\bAly to teach, that truth which is $MXNYZ )NRYAQCj <S@
                     <QYT ZT @A?Q<XA <S@ ?TSEXR >e MAX <aZMTXNZe ZMTYA VXNS?NVQAY TC ZMA RTX<Q TX@AX
                     which have their origins in human nature itself.66

       62. 5MNY Y<RA VTYN\TS NY <QYT <X\?aQ<ZA@ NS <STZMAX @T?aRASZ ZM<Z %N $<Rillo cites, the
           4A?TS@ 7<\?<S $TaS?NQ’Y 1<YZTX<Q $TSY\Za\TS TS ZMA $MaX?M NS ZMA .T@AXS 8TXQ@
           (Gaudium et Spes).  Again he omits the $TSY\Za\TS’s NSOaS?\TSY <>TaZ ZMA <aZMTXNZe
           of Church teaching vis a vis the consciences of lay Catholics:

                     Let the layman not imagine that his pastors are always such experts, that to
                     every problem which arises, however complicated, they can readily give him a
                     ?TS?XAZA YTQa\TSj TX AbAS ZM<Z Ya?M is their mission. Rather vZMAe YMTaQ@ >Aw
                     ASQNLMZASA@ >e $MXNY\<S cNY@TR <S@ LNbNSL ?QTYA <^AS\TS ZT ZMA teaching
                     authority of the Church…. 68

                     nvcNZM XAL<X@ ZT XAVXT@a?\bA WaAY\TSYw spouses should be aware that they
                     cannot proceed arbitrarily, but must always be governed according to a
                     ?TSY?NAS?A @a\CaQQe ?TSCTXRA@ ZT ZMA @ivine law itself, and should be submissive
                     ZTc<X@ ZMA $MaX?MzY ZA<?MNSL TH?Aj cMN?M <aZMAS\?<QQe NSZAXVXAZY ZM<Z law in
                     ZMA QNLMZ TC ZMA (TYVAQm69



64
     Catechism of the Catholic Church, §2039, emphasis added. See also §, §2032, et passim.

65
     %N $<RNQQTj STm m

66
     4A?TS@ 7<\?<S $TaS?NQj %B@GBM7NL )PF7G7;, §14.


     Di Camillo, no. 22, no. 26.

68
     4A?TS@ 7<\?<S $TaS?NQj Gaudium et Spes, §44.

69
     Ibid., §50.

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       63. More examples could be adduced, but in sum, Di Camillo presents TSQe < V<X\<Q <S@
           therefore misleading account of the Roman Catholic teaching on conscience. .aQ\VQA
           <aZMTXNZ<\bA YTaX?AY TC ?MaX?M ZA<?MNSL explicitly state that adequate conscience
           CTXR<\TS XAWaNXAY adherence to ZMA <aZMTXNZ<\bA ZA<?MNSL TC ZMA $MaX?M <S@ ZM<Z
           “XAOA?\TS TC ZMA Church’s authority” results in culpable error. Di Camillo’s opinion makes
           no RAS\TS TC ZMA <aZMTXNZ<\bA ZA<?MNSL TC ZMA 3TR<S $<ZMTQN? $MaX?M XAL<X@NSL ZMA
           COVID-19 vaccines.

            Conscience, as presented by Di Camillo, has become exactly what the Catechism and the
            Catholic Church rejects—“< RNYZ<PAS ST\TS TC <aZTSTRe TC ?TSY?NAS?A” that “’takes
            QN^QA ZXTa>QA ZT ES@ TaZ cM<Z NY ZXaA TX LTT@’” “YAZ NS TVVTYN\TS ZT ZMA .<LNYZAXNaR TC
            the Church”—an authority unto itself that can override the Pope <S@ <aZMTXNZ<\bA
            teaching.

       64. *Z NY <QYT cTXZM ST\SL ZM<Zj AbAS cMAS NZ ?TRAY ZT <VVQeNSL MNY TcS (mistaken) view of
           the Church’Y ZA<?MNSL TS ?TSY?NAS?Aj %N $<RNQQT @TAY STZ <^ARVZ ZT <S<QefA 3TQTbN?M’s
           actual process for informing his conscience. Instead, he merely opines (incorrectly) that
           Rolovich would be required to refuse the vaccine “ifj <KAX @aA @NQNLAS?A NS YAAPNSL TaZ
           <S@ ?XN\?<QQe <YYAYYNSL RA@N?<Q <S@ RTX<Q NSCTXR<\TS VAXZ<NSNSL ZT $07*%-19 and
           vaccines” he determined he should not receive the vaccine. #aZ %N $<RNQQT @TAY STZ
           appear to have spoken with Rolovich or reviewed any documents relevant to Rolovich’s
           process for @aA @NQNLAS?A CTX <YYAYYNSL ZMA XAQAb<SZ RA@N?<Q <S@ RTX<Q NSCTXR<\TS
           regarding the COVID-19 vaccines.

       (C) Di Camillo’s Principle of “TMAX<VAa\? PXTVTX\TS<QNZe” Is *@NTYeS?X<\?

       65. The putative principle of “therapeutic proportionality” plays a significant role in Di
           Camillo’s opinion. I have worked in Catholic bioethics for three decades, and I had never
           heard of this principle until I saw it referenced in the /$#$ b<??NSA AdARVZNTS ZARVQ<ZA
           NS  m "Y C<X <Y * ?<S ZAQQj ZMNY NY <S N@NTYeS?X<ZN? VXNS?NVQA <@b<S?A@ >e ZMA /$#$m 1AX
           my XAYA<X?Mj <QZMTaLM ZMA /$#$ aYAY NZ CXAWaASZQej XACAXAS?AY ZT < VXNS?NVQA TC
           “therapeutic proportionality” appear only six times in the literature since 2004.



  See, e.g., Catholic Church, Code of Canon Lawj ?m  l “Not indeed an assent of faith, but yet a religious
Ya>RNYYNTS TC RNS@ <S@ cNQQ RaYZ >A LNbAS ZT ZMA ZA<?MNSL cMN?M ANZMAX ZMA 4aVXARA 1TS\D TX ZMA $TQQALA TC
#NYMTVY VXTSTaS?A TS C<NZM TX TS RTX<QY cMAS ZMAe AdAX?NYA ZMA <aZMAS\? .<LNYZAXNaR AbAS NC ZMAe @T STZ NSZAS@
ZT VXT?Q<NR NZ >e < @AESN\bA <?Zm” 4AA <QYT 'Xm 8NQQN<R .TYZj “'TaX -AbAQY TC ZMA $MaX?M’s Teaching,” ETWN (n.d.),
M^VYlrrcccmAcZSm?TRr?<ZMTQN?NYRrQN>X<XerCTaX-levels-of-the-churchs-teaching-12242.


     Di Camillo, no. 4.


  A search on “ZMAX<VAa\? VXTVTX\TS<QNZe” in the ATLA database (the main database of literature on religion and
ZMATQTLej NS?Qa@NSL $<ZMTQN? ZMATQTLeu VXT@a?A@ ST ?NZ<\TSYm " YA<X?M TS 1a>.A@ tZMA R<NS @<Z<><YA TC RA@N?<Q
and bioethics literature) produced only  ?NZ<\TSYm " (TTLQA YA<X?M VXT@a?A@ TSA <@@N\TS<Q ?NZ<\TSm


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       66. This ‘principle’ appears to me to be an idiosyncratic rephrasing of a concept that is
           fundamental to both secular and Catholic clinical AZMN?Yj S<RAQej ?TYZr>ASACNZ TXj NS
           $<ZMTQN? ZAXRNSTQTLej VXTVTXZNTS<ZAr@NYVXTVTXZNTS<ZA <S<QeYNYm  Central to clinical
           decision-making is that the benefits of a particular medical intervention should
           outweigh the burdens (costs). The person to weigh the relationship between benefits
           and burdens is the patient. The patient is to receive, “all reasonable information”
           regarding possible as to the burdens and benefits so that they are properly ‘informed,’
           and morally, they must do their best to make an objective, reasonable decision. 

       m The criterion of proportionality is affirmed in the &MAB97E 7G: 1;EB@BHPL %BK;9MBQ;L =HK
           $7MAHEB9 );7EMA $7K; 2;KQB9;L as is the centrality of informed consent. The Ethical and
           ReligioPL %BK;9MBQ;L =HK $7MAHEB9 );7EMA $7K; 2;KQB9;L (ERDs) is an authoritative
           document containing doctrinal, moral, and sacramental guidelines for Catholic health
           ?<XA NSYZNZaZNTSY NYYaA@ >e ZMA 64 $TSCAXAS?A TC $<ZMTQN? #NYMTVYm "Se MA<QZM ?<XA
           TXL<SNf<ZNTS that wishes to identify itself as a Catholic entity must adhere to the ERDs.

       68. While Di Camillo correctly notes that, per the ERDs, a patient’s informed consent
           requires “access to moral information,”  he again omits that, per the ERDs, a key
           source of such “moral information” is (for Catholics) the Church. As the ERDs note:

                     In a time of new medical discoveries, rapid technological developments,
                     and social change, what is new can either be an opportunity for genuine
                     advancement in human culture, or it can lead to policies and actions that
                     are contrary to the true dignity and vocation of the human person. In


  8MNQA ZMA /$#$ ARVQTeY ZMNY ?TS?AVZ TC “ZMAX<VAa\? VXTVTX\TS<QNZe” NS ZMANX +aQe   b<??NSA AdARV\TS
ZARVQ<ZAj <Z ZM<Z \RA ZMAe R<@A ST RAS\TS TC ?TSYN@AXNSL ZMA $07*%-19 vaccines to be “experimental.” It does
appear that subsequently (in 2022), this became one of their talking points and they began to <S<QefA the vaccines
not using the standards for clinical medicine but for medical research. We see this in their April 28, 2022 “Updated
Statement on COVID-19 Vaccine Mandates” (M^VYlrrcccmS?>?ASZAXmTXLrS?>?-SAcYraV@<ZA@b<??NSAYZ<ARASZ )
and the corresponding press release, “5MA /$#$ 6V@<ZAY *ZY 4Z<ZARASZ TS $07*%-19 Vaccine Mandates to Include
Children and Vulnerable Persons,”
(M^VYlrrYZ<\?mYWa<XAYV<?Am?TRrYZ<\?rA<@<<< A@<@@?@rZr <A? @AA?@A<r
r1XAYY3AQA<YA7aQSAX<>QA1AXYTSYmV@C ) which refers to the “AdVQTNZ<\TS” of children (apparently via
b<??NS<\TSu <S@ STZAY ZM<Z “5MA aV@<ZA@ /$#$ YZ<ZARASZ <QYT XA?<QQY ZMA MNLMAX AZMN?<Q YZ<S@<X@Y XAquired in
medical research.” 5MNY YMNK <QYT <VVA<XY NS %N $<RNQQT’s opinion, no. 34.


  64 $TSCAXAS?A TC $<ZMTQN? #NYMTVYj The EMAB97E 7G: 1;EB@BHPL %BK;9NQ;L =HK $7MAHEB9 );7EMA $7K; 2;KQB9;L (2018),
%NXA?\bA STm j M^VYlrrcccmaY??>mTXLrXAYTaX?AYrAZMN?<Q-religious-@NXA?\bAY-catholic-health-service-sixth-A@N\TS-
2016-smV@C. This document is referred to as the ERDs, and thNY <>>XAbN<\TS cNQQ >A aYA@ LTNSL CTXc<X@m


     See DNXA?\bAY j j j j j j j  <S@ ZMA *SZXT@a?\TS ZT 1<XZ 7 TC ZMA th A@N\TS TC ZMA ERDs.


     &3%Yj %NXA?\bAY j j AZ V<YYNRm


     Di Camillo, no. 35.


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                     consultation with medical professionals, church leaders review these
                     developments, judge them according to the principles of right reason and
                     the ultimate standard of revealed truth, and offer authoritative teaching
                     and guidance about the moral and pastoral responsibilities entailed by
                     the Christian faith. While the Church cannot furnish a ready answer to
                     every moral dilemma, there are many questions about which she
                     provides normative guidance and direction.

       69. The COVID-19 vaccines are an excellent example of TSA TC ZMAYA WaAY\TSY. Throughout
           his opinion, Di Camillo simply omits this requirement that Mr. Rolovich’s moral
           assessment must respect the magisterium’Y STXR<\bA LaN@<S?A <S@ @NXA?\TS regarding
           the morally obligatory nature of the COVID-19 vaccines.

       m #aZ cMNQA VXTVTX\TS<QNZe NY <S NRVTXZ<SZ ?XNZAXNTS CTX $<ZMTQN? ?QNSN?<Q <YYAYYRASZj NZ
           never stands alone. It is a subcomponent of a more important principle that helps
           @AZAXRNSA cMAZMAX < RA@N?<Q NSZAXbAS\TS NY RTX<Qly obligatory or not.

       (D) Di Camillo &S\XAQe 0RNZY the Principle of Ordinary and Extraordinary Means

       m Di Camillo’Y ZMNX@ YA?\TS—“5A<?MNSLY TC ZMA 3TR<S $<ZMTQN? $MaX?M TS 7<??NS<\TS NS
           (ASAX<Q”—NY OaYZ ><JNSLQe NS?TXXA?Zm )NY opinion, again, RNYQA<@Y >e VXAYAS\SL TSQe V<XZ
           TC ZMA ZA<?MNSL TS ZMNY WaAY\TSm "S@ Nt requires AS\XAQe NLSTXNSL the Church’s well-
           established principle of ordinary and extraordinary means. This principle is found in the
           ERDs, in nearly every textbook of Catholic bioethics and in the majority of clinical case
           analyses conducted by professional Catholic bioethicists.

        m 'NXYZj Di Camillo states ZM<Z b<??NS<\TSY “must be voluntary”—full stop. This is a
           @A?AV\bA ?Q<NR NSYTC<X <Y VAX >TZM $<ZMTQN? <S@ YA?aQ<X >NTAZMN?Yj all medical
           NSZAXbAS\TSY RaYZ <Qc<eY >A bTQaSZ<XeZ 0SA ?<SSTZ CTX?A < V<\ASZ ZT <??AVZ < RA@N?<Q
           NSZAXbAS\TS NSbTQaSZ<XNQem 5M<Z @TAY not, however, mean that for the Church, some
           RA@N?<Q NSZAXbAS\TSY are not at the Y<RA \RA bTQaSZ<Xe and morally obligatory.

       m 5T R<PA ZMAYA @AZAXRNS<\TSYj Zhe Church VXTbN@AY NS@NbN@a<Q $<ZMTQN?Y tV<\ASZYj
           providers, ethicists, etc.) with the principle of ordinary and extraordinary means.
           IntAXbAS\TSY ZM<Z ?<S >A ?TSYN@AXA@ “ordinary” means are held to be “morally
           obligatory.” *SZAXbAS\TSY ZM<Z <XA ?TSYN@AXA@ “extraordinary” are not. This is clearly
           stated in the ERDs, and Di Camillo simply omits it.





     Di Camillo, nos. 31-41.


     Di Camillo, no. 42.


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       m "Y ZMA &3%Y STZAj ZMA $<ZMTQN? ZX<@N\TS M<Y QTSL Z<aLMZ ZM<Z “every person is obliged to
           use ordinary means to preserve his or her health.” 80 #A?<aYA TC ZMA Y<?XA@SAYY TC
           MaR<S QNCAj bTQaSZ<XNQe VXTZA?\SL TaX TcS QNCA <S@ MA<QZM NY <S TbAXXN@NSL ZMATQTLN?al
           and moral commitment.81 5MaYj NS ZMA $<ZMTQN? ZX<@N\TSj < RA@N?<Q NSZAXbAS\TS ?<S >A
           both voluntary and ‘morally obligatory’—and many are.

       m The ERDs @AESA TX@NS<Xe RA<SY:

                   A person has a RTX<Q T>QNL<\TS ZT aYA TX@NS<Xe TX VXTVTX\TS<ZA RA<SY
                   of presAXbNSL MNY TX MAX QNCAm 1XTVTX\TS<ZA vTX@NS<Xew means are those
                   ZM<Z NS ZMA Oa@LRASZ TC ZMA V<\ASZ TDAX < XA<YTS<>QA MTVA TC >ASAEZ
                   and do not entail an excessive burden or impose excessive expense on
                   the family or the community. 82

           5MAe ?TS\SaAl

                   A VAXYTS R<e CTXLT AdZX<TX@NS<Xe TX @NYVXTVTX\TS<ZA RA<SY TC
                   VXAYAXbNSL QNCAm %NYVXTVTX\TS<ZA vAdZX<TX@NS<Xew means are those that in
                   ZMA V<\ASZ’Y Oa@LRASZ @T STZ TDAX < XA<YTS<>QA MTVA TC >ASAEZ TX ASZ<NQ
                   an excessive burden, or impose excessive expense on the family or the
                   community.

       m The key terms here are: reasonable and excessive. The COVID-19 vaccines very quickly
           VXTbA@ ZT >A MNLMQe ADA?\bA <Z VXAbAS\SL YAXNTaY NQQSAYYj MTYVNZ<QNf<\TSj <S@ @A<ZM
           CXTR < MNLMQe NSCA?\TaY @NYA<YA ZM<Z ?<S M<bA YAXNTaYj QTSL-term or even fatal outcomes
           <S@ CTX cMN?M ZMAXA NY Y\QQ ST ADA?\bA treatment. Clearly, they met the bar for
           XA<YTS<>QA MTVA TC >ASAEZm 5MAe @T STZ NRVTYA any YNLSNE?<SZ burdens or risks for
           XA?NVNASZY cNZMTaZ RA@N?<Q ?TSZX<NS@N?<\TSY, and they were free of charge in the US.
           "aZMTXNZ<\bA R<LNYZAXN<Q LaN@<S?A ?TS?Qa@A@ that there are no overweening moral
           obstacles that would change this calculus.

       m Unlike any other medical treatment, vaccines also have the <@@N\TS<Q >ASAEZ that they
           protect STZ TSQe ZMA V<\ASZ >aZ also other people—our immediate families and those
           we AS?TaSZAX NS TaX ?TRRaSN\AYj V<X\?aQ<XQe ZMTYA cMT RTXA baQSAX<>QAj VXAYAXbNSL
           their health and life as well. Thus, CTX b<??NSAYj ZMA >ASAEZr?TYZ X<\T NY AbAS LXA<ZAXm
           Consequently, CTX ZMTYA cNZMTaZ RA@N?<Q ?TSZX<NS@N?<\TSYj b<??NSAY <XA STZ RAXAQe
           ordinary treatment—ZMA RTX<Q T>QNL<\TS ZT >A b<??NS<ZA@ NY AbAS LXA<ZAXm


80
     ERDs, %NXA?\bA  j ARVM<YNY <@@A@m

81
     &3%Yj (ASAX<Q *SZXT@a?\TSm

82
     %NXA?\bA j ARVM<YNY <@@A@m


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        It was via the principle of ordinary and extraordinary means ZM<Z ZMA <aZMTXNZ<\bA
        bodies in the Roman Catholic magisterium deemed the COVID-19 vaccines morally
        T>QNL<ZTXe t1TVA 'X<S?NYuj < @aZe tZMA $%'uj TX < RTX<Q XAYVTSYN>NQNZe tZMA 7<\?<S $07*%-
         $TRRNYYNTS <S@ ZMA 64$$#um

     m 'NS<QQej NZ NY <L<NS RNYQA<@NSL ZT YaLLAYZ ZM<Z ZMA $MaX?M M<Y STZ Z<PAS < VTYN\TS TS
         b<??NS<\TSm It TDAXA@ < ?QA<X <S@ ?TSYNYZASZ VTYN\TS TS ZMA $07*D-19 vaccines, as
         @AZ<NQA@ NS 4A?\TS **m <>TbAm *S <@@N\TSj Seither vaccines nor vaccine mandates are
         new.83 5MA $<ZMTQN? $MaX?M M<Y SAbAX TVVTYA@ YZ<ZA b<??NS<\TS R<S@<ZAYm $<ZMTQN?
         ?TQQALAY <S@ aSNbAXYN\AY M<bA >AAS R<S@<\SL < b<XNAZe TC b<??NSAY CTr decades, even
         vaccines developed and manufactured in the same way as the COVID-19 vaccines. 84

        5MAXACTXAj b<??NS<\TS overwhelmingly meets the criteria to be considered ordinary
        treatment and thus, as the consensus of magisterial commentary has noted, any
        reasonable Catholic who has formed their conscience well should consider it morally
        obligatory.

     4. 2@; $EHIH E< $EDH9A;D9; AD I@; 0EC7D $7I@EBA9 2G7:AJED

     m 0SA ES<Q <YVA?Z TC ZMA 3TR<S $<ZMTQN? ZA<?MNSL TS ?TSY?NAS?A RaYZ >A RAS\TSA@
         >XNAIem Catholic teaching on conscience is both old and new. 5MA ZMATXA\?<Q frame for
         the concept was developed most clearly in the work of the 13th century theologian,
         Thomas Aquinas. "KAX that, the concept had < RNdA@ MNYZTXe NS ZMA $<ZMTQN? ZX<@N\TS.
         Over the centuries, the Roman Catholic Church punished many martyrs and people of
         TZMAX C<NZMY cMT YTaLMZ ZT ?TSY?NAS\TaYQe AdAX?NYA ZMANX XAQNLNTaY freedom. The concept
         had a mixed history even in the 19th and early 20th ?ASZaXNAYj aS\Q NZ c<Y XAbNbNEA@ >e ZMA
         4A?TS@ 7<\?<S $TaS?NQ in the 1960s. 85

     80. #AMNS@ ZMNY MNYZTXe NY <S <YVA?Z TC ?TSY?NAS?A TRN^A@ CXTR %N $<RNQQNT’s account: that
         while individuals have a right to conscience, ZM<Z XNLMZ ASZ<NQY XAYVTSYN>NQN\AY <S@j

83
   ,AbNS .<QTSA <S@ "Q<S 3m )NSR<Sj “7<??NS<\TS .<S@<ZAYl 5MA 1a>QN? )A<QZM *RVAX<\bA <S@ *S@NbN@a<Q 3NLMZYj”
in Law in Public Health 0K79N9;, 2nd A@mj A@m 3N?M<X@ "m (TT@R<Sj AZ <Qm t0dCTX@ 6SNbAXYNZe 1XAYYj uj -360,
M^VYlrrcccm?@?mLTbrb<??NSAYrNRf-R<S<LAXYrLaN@AY-Va>Yr@TcSQT<@Yrb<??sR<S@<ZAYs?MVZXmV@C.

84
  See, e.g., the University of Notre Dame, “*RRaSNf<\TS '"2Yj” (accessed July 19, 2024), M^VYlrraMYmS@mA@arCTX-
incoming-YZa@ASZYrNRRaSNf<\TS-faWYr. In 2021, per state mandates, this list also included the COVID-19 vaccines.
4NRNQ<X XAWaNXARASZY ?<S >A CTaS@ TS ZMA cA>YNZAY TC RTYZ $<ZMTQN? A@a?<\TS<Q <S@ MA<QZM ?<XA NSY\Za\TSY
NS?Qa@NSL <QQ ZMXAA $<ZMTQN? aSNbAXYN\AY NS 8<YMNSLZTS YZ<ZAj 4A<^le University (M^VYlrrcccmYA<^QAamA@arQNCA-at-
YA<^QA-arMA<QZM-cAQQSAYYrYZa@ASZ-health-?ASZAXrNRRaSNf<\TSYruj 4Zm .<X\S’s University
(M^VYlrrcccmYZR<X\SmA@arYZa@ASZ-QNCArYZa@ASZ-cAQQ>ANSLrMA<QZM-servicesuj <S@ (TSf<L< 6SNbAXYNZe
(M^VYlrrcccmLTSf<L<mA@arYZa@ASZ-QNCArMA<QZM-well->ANSLrMA<QZM-counseling-seXbN?AYrXAYTaX?AYrb<??NS<\TSY).

85
  4AAj AmLmj %<bN@ %A$TYYA <S@ ,XNY\S )AeAXj A@Ymj $HGL9B;G9; 7G: $7MAHEB9BLFY 1B@AMLX 1;LJHGLB8BEBN;LX 7G:
*GLNMPNHG7E 1;LJHGL;L t0X>NY #TTPYj um


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           ?TXXAQ<\bAQej ?TSYAWaAS?AYm 'TX Ad<RVQAj VXNTX ZT ZMA 4A?TS@ 7<\?<S $TaS?NQj ZMA
           $MaX?M Q<XLAQe TVVTYA@ ZMA VX<?\?A TC $<ZMTQN? ?TSY?NAS\TaY T>OA?\TS ZT c<Xm 86 The
           Church raised ST T>OA?\TSY ZT governments that jailed Catholics cMT ?TSY?NAS\TaYQe
           T>OA?ZA@ ZT V<X\?NV<\SL NS c<X CTX V<?NEYZ XA<YTSYm %aXNSL ZMA 7NAZS<R 8<X AX<, the
           $MaX?M >AL<S ZT XA?TLSNfA ZMA RTX<Q XNLMZY TC Catholics cMT ?TSY?NAS\TaYQe T>OA?Zed to
           war and refused ?TSY?XNV\TSj >aXSed @X<K ?<X@Yj  or threw blood on nuclear war
           heads.88 #aZ ZMAe AWa<QQe <?PSTcQA@LA@ ZM<Z Ya?M ?TSY?NAS\TaY T>OA?ZTXY RaYZ C<?A ZMA
           ?TSYAWaAS?AY TC ZMANX <?\TSY—AmLmj ZT YAXbA \RA NS VXNYTSm While the Church now has
           given Wa<QNEA@ YaVVTXZ ZT RNQNZ<Xe ?TSY?NAS\TaY T>OA?\TSj NZ XA?TLSNfAY ZM<Z Ya?M <
           stance may incur “consequences to person and career,” and it agrees that those who
           object for reasons of conscience must be cNQQNSL ZT V<X\?NV<ZA NS YTRA YTXZ TC
           <QZAXS<\bA servicej AbAS NC NZ NY Y\QQ V<XZ TC ZMA ‘war machine’ to which they object. 89 The
           64 (TbAXSRASZ XAWaNXAY military ?TSY?NAS\TaY T>OA?ZTXY ZT LT ZMXTaLM < XNLTXTaY
           VXT?AYY NS cMN?M ZMAe EXYZ @AZ<NQ NS cXN\SL <S@rTX bN< < VAXYTS<Q VXAYASZ<\TS MTc ZMAe
           arrived at thANX >AQNACYj ZMA NSIaAS?A ZMTYA >AQNACY M<bA M<@ TS MTc ZMAe QNbA ZMANX
           lives. 90 The Catholic Church supports such a process. 91 Signing a pre-fabricated template
           CTXR NY STZ YaH?NASZm

       81. 5MNY VTYN\TS NY XTTZA@ NS <S <HXR<\TS TC VTQN\?<Q LTbAXS<S?A <Y SA?AYY<Xe CTX MaR<S
           ITaXNYMNSLm 8NZMNS $<ZMTQN? ZMATQTLej ZMAXA NY <Z QA<YZ < prima facie <YYaRV\TS ZM<Z
           VTQN\AY <?Z CTX ZMA ?TRRTS LTT@ <S@ ZM<Z ?N\fASY M<bA < XAYVTSYN>NQNZe ZT ?TTVerate
           with Ya?M <aZMTXN\AYm 5MA 4A?TS@ 7<\?<S $TaS?NQ <HXRY ZMNY NSj <L<NSj their remarks on
           conscience:

86
  4AAj AmLmj +AXARe ,AYYQAXj “5MA -AL<Q 0XNLNSY TC $<ZMTQN? $TSY?NAS\TaY 0>OA?\TSj” William and Mary Bill of Rights
Journal, 31, no. 2 (2022-2023), 380,
M^VYlrrY?MTQ<XYMNVmQ<cmcRmA@ar?LNrbNAc?TSZASZm?LNi<X\?QA |?TSZAdZcR>TXOk <S@ Rachel M. Johnston-
White, “" /Ac 1XNR<?e TC $TSY?NAS?Ai $TSY?NAS\TaY 0>OA?\TSj 'XAS?M $<ZMTQN?NYRj <S@ ZMA 4Z<ZA %aXNSL ZMA
Algerian War,” Journal of Contemporary History 54, no. 1 (2019): 112-138.


     “The Catonsville Nine,” M^VYlrrASmcNPNVA@N<mTXLrcNPNr$<ZTSYbNQQAs/NSA

88
  .<Xe "SS .aAQQAX <S@ "SS #XTcSj “The Plowshares Eight: Thirty Years On,” 67@BG@ .HGQBHE;G9; (September 9,
2010), M^VYlrrc<LNSLSTSbNTQAS?AmTXLr rrZMA-plowshares-8-thirty-years-TSr

89
  4AAj AmLmj ZMA bAXe @NDAXASZ ZASTX NS ZMA 64$$# YZ<ZARASZY CXTR 
(M^VYlrrcccmaY??>mTXLrXAYTaX?AYrYZ<ZARASZ-catholic-?TSY?NAS\TaY-objector-division-world-OaY\?A-and-peace-
october-15) and 2014 (M^VYlrrcccmaY??>mTXLrXAYTaX?AYr?TSY?NAS\TaY-T>OA?\TS).

90
     64 4AQA?\bA 4AXbN?A 4eYZARj “$TSY?NAS\TaY 0>OA?ZTXYj” M^VYlrrcccmYYYmLTbr?TSY?NAS\TaY-T>OA?ZTXYr.

91
  $<ZMTQN? 1A<?A 'AQQTcYMNVj “5MA $MaX?M <S@ $TSY?NAS\TaY 0>OA?\TSj”
M^Vlrrcccm?<ZMTQN?VA<?ACAQQTcYMNVmTXLr@TcSQT<@Yr?TSY?NAS\TaYsT>OA?\TSsYMAAZmV@C. Notably, Mr. Rolovich did
STZ VXTbN@A <SYcAXY ZT <Se TC ZMA QALN\R<ZA WaAY\TSY 846 <YPA@ MNR TS ZMANX XAQNLNTaY AdARV\TS <VVQN?<\TS
CTXRj WaAY\TSY ZM<Z cAXA YNRNQ<X ZT ZMA 64 4AQA?\bA 4AXbN?A ?TSY?NAS\Tas objector process. Insofar as he could
STZ TX cTaQ@ STZ VXTbN@A OaY\E?<\TS CTX MNY VTYN\TSj NZ X<NYAY < WaAY\TS TC cMAZMAX MNY ?TSY?NAS?A c<Y YaH?NASZQe
well-formed, per Catholic teaching.


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                   5MA VTQN\?<Q ?TRRaSNZe AdNYZYj ?TSYAWaASZQej CTX ZMA sake of the common good,
                   NS cMN?M NZ ES@Y NZY CaQQ OaY\E?<\TS <S@ YNLSNE?<S?Aj <S@ ZMA source of its
                   NSMAXASZ QALN\R<?e….:AZ ZMA VATVQA cMT ?TRA ZTLAZMAX NS ZMA VTQN\?<Q
                   community are many and diverse, and they have every right to prefer divergent
                   YTQa\TSYm *C ZMA VTQN\?<Q ?TRRaSNZe NY STZ ZT >A ZTXS <V<XZ while everyone
                   follows his own opinion, there must be an authority to direct the energies of all
                   ?N\fASY ZTc<X@ ZMA ?TRRTS LTT@j STZ NS < RA?M<SN?<Q TX @AYVT\? C<YMNTSj >aZ
                   >e <?\SL above all as a moral force which appeals to each one's freedom and
                   sense of responsibility.

                   It is ?QA<Xj ZMAXACTXAj ZM<Z ZMA VTQN\?<Q ?TRRaSNZe <S@ Va>QN? <aZMTXNZe <XA
                   founded on human S<ZaXA <S@ MAS?A >AQTSL ZT ZMA TX@AX @AYNLSA@ >e (T@j AbAS
                   ZMTaLM ZMA ?MTN?A TC < VTQN\?<Q XALNRA <S@ ZMA <VVTNSZRASZ TC XaQAXY <XA QAK ZT
                   ZMA CXAA cNQQ TC ?N\fASYm IZ CTQQTcY <QYT ZM<Z VTQN\?<Q <aZMTXNZej >TZM NS ZMA
                   ?TRRaSNZe <Y Ya?M <S@ NS ZMA XAVXAYASZ<\bA bodies of the state, must always be
                   exercised within the limits of the moral order and directed toward the common
                   good—with a dynamic concept of that good—according to the juridical
                   TX@AX QALN\R<ZAQe AYZ<>QNYMA@ TX @aA ZT >A AYZ<>QNYMA@m When authority is so
                   AdAX?NYA@j ?N\fASY <XA >TaS@ NS ?TSY?NAS?A ZT T>Ae. 92

           5MNY VTYN\TS NY <QYT NS?Qa@A@ NS ZMA Catechism, but again, Di Camillo does not cite it. 93

       82. The Church also reserves the right to impose consequences on those who
           ?TSY?NAS\TaYQe T>OA?Z ZT NZY ZA<?MNSLY TX <aZMTXNZe YZXa?ZaXAm &YVA?N<QQe TbAX ZMA Q<YZ
           @A?<@Aj $<ZMTQN? VTQN\?N<SY in the US who—in conscience—bTZA CTX QALNYQ<\TS
           YaVVTX\SL <>TX\TS XNghts because Ya?M QALNYQ<\TS represents the wishes of their
           ?TSY\ZaAS?NAY have been @ASNA@ ?TRRaSNTS <S@rTX ZMXA<ZASA@ cNZM Ad?TRRaSN?<\TS
           by a handful of bishops. 94

       83. The Church <QYT NSIN?ZY ARVQTeRASZ ?TSYAWaAS?AY TS ZMTYA cMT CTQQTc ZMANX
           consciences cNZMNS $<ZMTQN? NSY\Za\TSYm 'TX Ad<RVQAj in October 2021, ZMA 7<\?<S
           NSIN?ZA@ ARVQTeRASZ ?TSYAWaAS?AY TS ZMTYA ARVQTeAAY cMT XACaYA@ ZT XA?ANbA ZMA
           COVI% b<??NSAY cMAS ZMA 7<\?<S NSY\ZaZA@ NZY b<??NSA R<S@<ZA—either suspending
           ZMAR aS\Q ZMAe cAXA b<??NS<ZA@ TX <QQTcNSL ZMAR ZT QA<bA ZMANX VTYN\TSYm95 In the US,

92
     4A?TS@ 7<\?<S $TaS?NQj Gaudium et Spes, §j ARVM<YNY <dded.

93
     Catechism, §§- j M^VlrrcccmY?>TXXTRATmTXLr???rVY? < mMZR.

94
  “Eucharist %ASN<Q ZT $<ZMTQN? 1TQN\?N<SY 0bAX ">TX\TSj” Wikipedia:
M^VYlrrASmcNPNVA@N<mTXLrcNPNr&a?M<XNYZs@ASN<QsZTs$<ZMTQN?sVTQN\?N<SYsTbAXs<>TX\TS

95
  Ivana Saric, “4cNYY (a<X@Y -A<bA $TXVY NS 0X@AX ZT "bTN@ 7<\?<S 7<??ine Mandate,” "SBHL (October 3, 2021),
M^VYlrrcccm<dNTYm?TRr  rrrYcNYY-guards-covid-vaccine-YcNZfAXQ<S@

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        employees (whether Catholic or not) who follow their consciences are regularly
        terminated by Catholic employers, and the US courts have regularly supported these
        consequences. 96 In July 2024, Cardinal Carlo Maria Vigano, the former Papal Nuncio to
        ZMA 64 t< bAXe VXTRNSASZ ?MaX?M VTYN\TSu c<Y Ad?TRRaSN?<ZA@ CTX MNY ?TSYNYZASZ bT?<Q
        ?TSY?NAS\TaY T>OA?\TS ZT 1TVA 'X<S?NY’ QALN\R<?em  In November 2023, the bishop of
        Tyler, Texas, was removed fXTR MNY VTYN\TS CTX YNRNQ<X XA<YTSYm 98

     5. Conclusion

     84. #<YA@ TS ZMA CTXALTNSLj NZ NY Re TVNSNTS ZM<Z %N $<RNQQT NY NS?TXXA?Z ZM<Z .Xm 3TQTbN?M c<Y
         required to refuse the COVID-19 vaccine based on his Roman Catholic faith. To reach his
         conclusion, he misrepresents Roman Catholic teaching on conscience, taking sentences
         <S@ V<YY<LAY TaZ TC ?TSZAdZ <S@ TRN_SL PAe <YVA?ZY TC ZMA ZA<?MNSL that is included in
         the very documents he cites. )A R<PAY ST RAS\TS TC ZMA C<?Z ZM<Z $<ZMTQN? ZA<?MNSL
         acknowledges that the VX<?\?A TC CTQQTcNSL TSA’s conscience—whether well-formed or
         erroneous—R<e M<bA YAXNTaY ?NbNQj A??QAYN<Y\?<Qj TX ARVQTeRASZ ?TSYAWaAS?AYm

     85. )A AS\XAQe NLSTXAY ZMA teaching promulgated >e 1TVA 'X<S?NYj ZMA %N?<YZAXe CTX ZMA
         %T?ZXNSA TC ZMA '<NZMj ZMA 7<\can COVID-19 Commission sponsored by the Dicastery for
         1XTRT\SL *SZALX<Q )aR<S %AbAQTVRASZj ZMA 1TS\E?<Q "?<@ARe CTX -NCAj <S@ ZMA 64$$#
         which all concurred: (1) that all available COVID-19 vaccines were morally acceptable to
         aYAk t u ZM<Z $<ZMTQN?Y M<bA < RTX<Q XAYVTSYN>NQNZej @aZej TX T>QNL<\TS ZT >A b<??NS<ZA@
         against COVID-19 in order to protect their own lives and health and the lives and health
         TC TZMAXY CXTR < YAXNTaY V<ZMTLAS cNZM ST ADA?\bA ZXA<ZRASZYk tu ZM<Z >ANSL
         vaccinated against COVID- c<Y <S <?Z TC QTbAk <S@ tu ZM<Z ZMA $MaX?M YMTaQ@ cTXP
         with public bodies to ensure universal access to vaccines. )A C<NQY ZT RAS\TS ZM<Z <t no
         \RA @N@ <Se TC ZMAYA 3TR<S $<ZMTQN? <aZMTXN\AY NS  -2022 advocate, recommend,
         counsel, or approve Catholics to seek AdARV\TSY CXTR b<??NSA R<S@<ZAYm *S C<?Zj 1TVA



96
  'TX OaYZ ZcT TC R<Se Ad<RVQAYj YAA “North Carolina CatMTQN? 4?MTTQ )<@ 3NLMZ ZT 'NXA (<e 5A<?MAX 8MT
Announced Wedding Online, Court Rules,” CBS News (May 10, 2024), M^VYlrrcccm?>YSAcYm?TRrSAcYrSTXZM-
carolina-catholic-school-EXA@-gay-teacher-lonnie-billard-wedding-court-XaQNSLrk <S@ %<bN@ ,m -N <S@ :<YRAAS
Persaud, “$<ZMTQN? 4?MTTQ )<@ -AL<Q 3NLMZ ZT 'NXA 6SR<XXNA@j 1XALS<SZ 5A<?MAXj /Ac +AXYAe $TaXZ 3aQAYj” NBC News
(August 16, 2023), M^VYlrrcccmS>?SAcYm?TRrSAcYr?XNRA-?TaXZYrSAc-jersey-high-court-sides-catholic-school-
teacher-EXA@-premarital-s-rcna100232. See also New Ways Ministries, “&RVQTeAAY TC $<ZMTQN? *SY\Za\TSY 8MT
)<bA #AAS 'NXA@j 'TX?A@ ZT 3AYNLSj )<@ 0DAXY 3AY?NS@A@j TX )<@ 5MANX +T>Y 5MXA<ZASA@ #A?<aYA TC -(#5 *YYaAYj”
(updated September 21, 2021): M^VYlrrcccmSAcc<eYRNSNYZXemTXLrNYYaAYrARVQTeRASZrARVQTeRASZ-@NYVaZAYr.


  Christopher White, “"X?M>NYMTV 7NL<ST 'TaS@ (aNQZe TC 4?MNYRj &d?TRRaSN?<ZA@ >e 7<\?<Sj” NCR July 5, 2024:
M^VYlrrcccmS?XTSQNSAmTXLrb<\?<Srb<\?<S-SAcYr<X?M>NYMTV-vigan-found-guilty-schism-excommunicated-b<\?<S.

98
  /N?TQA 8NSEAQ@j “1TVA 'X<S?NY 3ARTbAY < -A<@NSL 64 $TSYAXb<\bA $XN\? <Y #NYMTV TC 5eQAXj 5Ad<Yj” "0
(November 11, 2023), M^VYlrr<VSAcYm?TRr<X\?QArVTVA-tyler-bishop-strickland-removed-
CC>A@>@AA<@?A.


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       'X<S?NY MNRYAQC ?XN\?NfA@ ZMTYA cMT @N@ <S@ YTaLMZ ZT VAXYa<@A ZMAR TZMAXcNYAm

   86. )A a\QNfAY <S N@NTYeS?X<\? ?TS?AVZ cMNQA TRN_SL one of the most central principles of
       Catholic bioethics—the principle of ordinary and extraordinary means—which is used to
       determine cMN?M RA@N?<Q NSbAS\TSY <XA RTX<QQe T>QNL<ZTXem

   m 'NS<QQej %N $<RNQQT @TAY STZ AbAS <^ARVZ ZT <S<QefA TX Ab<Qa<ZA ZMA <?Za<Q VXT?AYY >e
       which Mr. Rolovich formed his conscience and came to his judgement to determine
       whether or not it met the criteria for a well-CTXRA@ ?TSY?NAS?A NS ZMA $<ZMTQN? ZX<@N\TSm

   88. Thus, in my opinion, to ?TS?Qa@A ZM<Z < ><V\fA@ $<ZMTQN? could be “required” as a
       Catholic to refuse COVID- b<??NS<\TS requireY < YNLSNE?<SZ @NYZTX\TSj
       RNYaS@AXYZ<S@NSLj TX RNYXAVXAYASZ<\TS TC $<ZMTQN? ZA<?MNSLm




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                                          "11&/%*9 1

                         M. THERESE LYSAUGHT, PhD
                                /ANYc<SLAX *SY\ZaZA CTX #NTAZMN?Y
                      Stritch School of Medicine, Loyola University Chicago
                                   1TS\E?<Q "?<@ARe CTX -NCA
                                       mlysaught@luc.edu



EDUCATION

PhD     3AQNLNTSr5MATQTLN?<Q &ZMN?Y                 Duke University                       1992
MA      Theology                                    University of Notre Dame              1986
#4      Chemistry                                   )TVA $TQQALA                          1985



TENURED 2&"$)*-( & 0&1&"0$) "//.*-2,&-21

2013-          Professor, Neiswanger *SY\ZaZA CTX #NTAZMN?Y <S@ )A<QZM 1TQN?ej 4ZXNZ?M 4?MTTQ TC
               .A@N?NSAk *SY\ZaZA TC 1<YZTX<Q 4Za@NAYj -TeTQ< 6SNbAXYNZe $MN?<LT tOTNSZ
               appointment)

2012-2013      7NYN\SL 4?MTQ<Xj $<ZMTQN? )A<QZM "YYT?N<\TS

 -2013      "YYT?N<ZA 1XTCAYYTXj .<XWaA^A 6SNbAXYNty, Department of Theology

1995-       "YYNYZ<SZr"YYT?N<ZA 1XTCAYYTXj 6SNbAXYNZe TC %<eZTSj %AVZm TC 3AQNLNTaY 4Za@NAY

1995           1TYZ@T?ZTX<Q 3AYA<X?M 'AQQTcj %AV<XZRASZ TC 1A@N<ZXN?Y | (ASA\?Yj $TQQALA TC
               Medicine, University of Iowa

1994           /*) 'AQQTcj 1XTLX<R NS .TQA?aQ<X <S@ $QNSN?<Q (ASA\?Yj 1XTLX<R NS #NTRA@N?<Q
               &ZMN?Y 6SNbAXYNZe TC *Tc<j CaS@A@ >e ZMA /<\TS<Q *SY\ZaZAY TC )A<QZM t/*)uj
               /<\TS<Q $ASZAX CTX )aR<S (ASTRA 3AYA<X?M t/$)(3uj &ZMN?<Qj -AL<Qj <S@ 4T?N<Q
               *RVQN?<\TSY 1XTLX<R t&-4*u

1992-1994      "YYT?N<ZAj 5MA 1<XP 3N@LA $ASZAX CTX )A<QZMj '<NZMj <S@ &ZMN?Y




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ACADEMIC ADMINISTRATION

2014-2018     "YYT?N<ZA %A<Sj *SY\ZaZA TC 1<YZTX<Q 4Za@NAYj -TeTQ< 6SNbAXYNZe $MN?<LT
2011-2012     %NXA?ZTX TC (X<@a<ZA 4Za@NAYj %AV<XZRASZ TC 5MATQTLej .<XWaA^A University
2008-2010     "YYNYZ<SZ $M<NXj %AV<XZRASZ TC 5MATQTLej .<XWaA^A 6SNbAXYNZe
1999-2000     *SZAXNR %NXA?ZTX TC (X<@a<ZA 4Za@NAYj %AVt. of Religious Studies, Univ. of Dayton


$.-13+2*-( & FACILITATION

2024          St. Norbert College, .TX<Q "S<QeYNY TC )A<QZM Plan Coverage

2023          1A<?A )A<QZMj .TX<Q "S<QeYNY

2023-         &dZAXS<Q .AR>AXj %NYYAXZ<\TS $TRRN^AAj 4<X<M ,TZMAj $<S@QAX 4?MTTQ TC
              Theology, Emory University: “$<ZMTQN? #NTAZMN?Y <S@ "LNSLl "S &ZMSTLX<VMN?
              Study of the Moral Projects of Seniors in Assisted Living”

2022          4Zm 9<bNAX 6SNbAXYNZej .TX<Q "S<QeYNY TC )A<QZM 1Q<S $TbAX<LA

2022-2023     &dZAXS<Q .AR>AXj %NYYAXZ<\TS $TRRN^AAj ". 4aZMAXQ<S@j 6SNbAXYNZe TC
              ,c<faQa-Natal, South Africa: “*SZAXZcNSA@ -NbAYl 3A?TSYZXa?\SL -NCA "KAX ZMA
              Death of a Son: An Autoethnography of a Pastoral Counselor and Mother”

2020-         $..#j 1XTOA?Z -A<@ <S@ '<?NQNZ<ZTX CTX “#aNQ@NSL 3AYNQNAS?ej” *SN\<\bA CTX ;<R>N<j
              4TaZM 4a@<Sj )<N\j ,ASe<j <S@ 1AXam

2020          Expert Witness, $7J;EEH QZ 'K7G9BL97G "EEB7G9;X *G9Z

2019-         $)" Ministry Assessment External Evaluator

2018-2019     "RAXN?<S "YYT?N<\TS CTX ZMA "@b<S?ARASZ TC 4?NAS?Aj 4?NAS?A CTX 4ARNS<XNAY
              (X<SZj $TSZASZ "@bNYTX CTX 4<?XA@ )A<XZ 4ARNS<Xej .NQc<aPAAj 8*

2018-2019     Department of Religious Studies, Cardinal Stritch University, Milwaukee, WI:
              Revisioning and restructuring of newly launched graduate program in pastoral
              ministry.

2018          Expert Witness, 1HF;KH QZ 1HF;KHX LA Superior Court




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 -         (QT><Q '<NZM-#<YA@ )A<QZM 4eYZARYl *SZALX<\SL 5A?MSTQTLe <S@ &RVTcAXNSL
              $TRRaSN\AYl (ATXLAZTcS 6SNbAXYNZe <S@ ZMA 'TS@<fNTSA #XaST ,AYYQAX t5XASZTj
              Italy)

           Expert Witness, 2FBMA QZ /2' );7EMA$7K; 2TLM;F

2016          5XNSNZe )A<QZMj &ZMN?Y 'aS?ZNTS %AYNLS

2014-2015     Co-?M<NXj -TeTQ< 6SNbAXYNZe $MN?<LT 4ZX<ZALN? 1Q<S 4ZAAXNSL $TRRN^AAj Plan 2020

2015          Expert Witness, -;:BG7 QZ $)*

2014          Expert Witness, $A7QB;L QZ $7MAHEB9 );7EMA &7LM

2014          1XAYAS?A )A<QZMj .NSNYZXe -A<@AXYMNV 'TXR<ZNTS %AYNLS 5A<R

2013-2014     $<ZMTQN? )A<QZM &<YZr5XNSNZe )A<QZM .NSNYZXe -A<@AXYMNV 'TXR<ZNTS %AYNLS 5A<R

2013          $<ZMTQN? )A<QZM &<YZj $<ZMTQN? 4T?N<Q 1X<?ZN?AY 8A>NS<X 4AXNAY %AYNLS <S@
              Implementation

2013          5XNSNZe )A<QZMj .TX<Q "S<QeYAY TC 0aZYTaX?Nng and Clinically Integrated Networks

2010          $<ZMTQN? )A<QZM?<XA 8AYZj .TX<Q "S<QeYNY TC < $<YA <Z 4Zm +TYAVMoY )TYVNZ<Qj
              Phoenix

2000-      &ZMN?Y $TRRNZZAAj (TT@ 4<R<XNZ<S )TYVNZ<Qj %<eZTSj 0MNT

2000-      &dA?aZNbA $TRRNZZAAj (XA<ZAX %<eZTS )A<QZM?<XA &Zhics Consortium



EDITORIAL & "%4*1.06 /.1*2*.-1

2023-         *SZAXS<\TS<Q #NTAZMN?Y (XTaV

2023-         PACTPAN (Pan-"CXN?<S $<ZMTQN? 5MATQTLe <S@ 1<YZTX<Q /AZcTXPuj )A<QZM <S@
              )A<QNSL 6SNZ

2022          C<ZMTQN? )A<QZM "YYT?N<\TS 8TXPNSL (XTaV TS ZMA 1XNS?NVQA TC %Ta>QA &DA?Z

2020-         1TS\E?<Q "?<@ARe CTX -NCAj $TXXAYVTS@NSL .AR>AX

2020-         5MA )<SP $ASZAX CTX ZMA $<ZMTQN? *SZAQQA?Za<Q )AXNZ<LAj #T<X@

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2022-         Editor, Journal of Moral Theology
              Associate Editor, 2019-2021
              EditoXN<Q "@bNYTXe #T<X@j -2018

2022-         &@NZTXN<Q #T<X@j Journal of Catholic Social Thought

2019-         &@NZTXN<Q #T<X@j 2MP:B;L BG $AKBLN7G &MAB9L

2018-2020     /TXZMcAYZAXS .A@N?<Q $ASZAX $1& "@bNYTXe #T<X@

 -2021     &@NZTXN<Q #T<X@j Journal of the Society of $AKBLN7G &MAB9L

2013-2014     $1& "@bNYTXe #T<X@j 1XAYAS?A )A<QZMj $MN?<LT

2012-2015     Program on Medicine and Religion, University of Chicago, Annual Conference
              1Q<SSNSL $TRRN^AA

2010-2014     4T?NAZe TC $MXNY\<S &ZMN?Yj #T<X@ TC %NXA?ZTXY
                     &dA?a\bA $TRRN^AAr1XTLX<R $TRRN^AAj  -2014
                     $M<NXj /TRNS<\SL $TRRN^AAj -2012
                     1XTLX<R $TRRN^AA 3AbNAc $TRRN^AAj -2014

2008-2011     Anglican-3TR<S $<ZMTQN? 5MATQTLN?<Q $TSYaQZ<\TS-64"j 64$$#j .AR>AX

2008-2012     $MXNY\<S 5MATQTLN?<Q 3AYA<X?M 'AQQTwship, Vice-President

2005-2006     -TaNYbNQQA *SY\ZaZAj $MXNY\<S '<NZM <S@ -NCA 4<>><\?<Q (X<SZ 1XTLX<Rj 3AbNAcAX

2003-2006     +TYAVM $<X@NS<Q #AXS<X@NS $ASZAXj $<ZMTQN? 5MATQTLN?<Q 6SNTSj $MN?<LTj 8TXPNSL
              (XTaV TS ZMA $TSYNYZASZ &ZMN? TC -NCA

2002-2009     $<ZMTQN? )A<QZM "YYT?N<\TSj 5MATQTLN<Sr&ZMN?NYZ $TRRN^AA t5&$u TC ZMA #T<X@ TC
              Directors

2001-2003     $<ZMTQN? )A<QZM "YYT?N<\TS 5MATQTLN<SY <S@ &ZMN?NYZY 8TXPNSL (XTaV “)<XSAYYNSL
              ZMA 1XTRNYA TC (ASA\?Y”

2001-2006     $<ZMTQN? )A<QZM "YYT?N<\TS 5MATQTLN<SY | &ZMN?NYZY 8TXPNSL (XTaVj 5MA 1XNS?NVQA
              TC $TTVAX<\TS

1999, 2000    $<ZMTQN? )A<QZM "YYT?N<\TS 5MATQTLN<SY <S@ &ZMN?NYZY $TQQTWaNaR 1Q<SSNSL
              $TRRN^AA


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1998-2001     "RAXN?<S "YYT?N<\TS CTX ZMA "@b<S?ARASZ TC 4?NAS?A t"""4uj 1XTLX<R TC
              %N<QTLaA #AZcAAS 4?NAS?Aj 3AQNLNTSj <S@ &ZMN?Yj "@bNYTXe #T<X@ .AR>AX

1995-1998     3A?TR>NS<SZ %/" "@bNYTXe $TRRN^AA t3"$uj /<\TS<Q *SY\ZaZAY TC )A<QZM

1994-1998     4T?NAZe TC $MXNY\<S &ZMN?Y t4$&u 8TRAS’s Caucus, co-chair



PUBLICATIONS (Abridged 2014-2024)

Books

#BHJHECN97 :;LJP<L :; E7 .;PKH9B;G9B7Y -HK7EB:7: T E7 &9HGHFC7 :; E7 5BKMP:Z Co-escrito con
+ADXAe 1m #NYMTV <S@ "S@XAc "m .N?MAQ t.<@XN@j &YV<S<l 6SNbAXYN@<@ 'X<S?NY?T @A 7NZTXN<j NS
press 2024).

" 0KHJA;M MH MA; 0;HJE;LY 07PE '7KF;K’s Witness and Theological Ethics. Co-edited with Jennie
8ANYY #QT?P <S@ "QAd<S@XA "m .<X\SY t1N?PcN?P 1a>QN?<\TSYj 'A>Xa<Xe  u.

#BHJHEBN9L "?;K .;PKHL9B;G9;Y -HK7EBMT 7G: MA; Economy of Virtue. Co-<aZMTXA@ cNZM +ADXAe 1m
#NYMTV <S@ "S@XAc "m .N?MAQ t#QTTRY>aXe "?<@ARN?j  um 8NSSAX TC < } j

$7MAHEB9 #BH;MAB9L 7G: 2H9B7E +PLN9;Y 3A; 0K7SBL H= 42 );7EMA $7K; BG 7 (EH87EBU;: 6HKE:Z Co-
A@NZA@ cNZM .N?M<AQ 1m .?$<XZMe t-NZaXLN?<Q 1XAYYj um  $<ZMTQN? 1XAYY "YYT?N<\TS #TTP
"c<X@j $<ZMTQN? 4T?N<Q 5A<?MNSLj )TSTX<>QA .AS\TSm

1;PGB:HL J7K7 &E $7FBGHY 3;HEH@C7 ;G PG7 0;KLJ;9NQ7 Católica. Co-A@NZ<@T ?TS %<bN@ .<ZfPT
.?$<XZMem 5X<@a??NUS VTX )AQAS< '<??N< 4AXX<ST t(X<S<@<j &YV<S<l &@NZTXN<Q /aAbT *SN?NTj
2019).

$7KBM7L BG $HFFPGBHGY 3A;HEH@B97E 'HPG:7NHGL H= $7tholic Health Care t$<ZMTQN? )A<QZM
"YYT?N<\TSj um

/G -HK7E -;:B9BG;Y 3A;HEH@B97E &SJEHK7NHGL BG -;:B97E &MAB9L, 3rd ed. Co-edited with Joseph
,TZb< (Eerdmans, 2012).

(7MA;K;: =HK MA; +HPKG;TY -HK7E 3A;HEH@T BG $7MAHEB9 0;KLJ;9NQ;. Co-edited with David M.
.?$<XZMe t&AX@R<SYr4$.j um  $<ZMTQN? 1XAYY "YYT?N<\TS #TTP "c<X@j 5MATQTLej 5MNX@
1Q<?A )TSTXYm




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Journal Articles

“3AYT?N<QNfNSL $<ZMTQN? )A<QZM?<XA -A<@AXYMNVl -AYYTSY CXTR 1<aQ '<XRAX <S@ 1TVA 'X<S?NY,”
Concilium 2024, no. 3, Special issue on “)A<QZM <S@ )A<QNSLl &ZMN?<Qj 5MATQTLN?<Qj and Pastoral
1AXYVA?\bAY,” 58-.

“3NYT?N<QNff<XA Q< QA<@AXYMNV ?<^TQN?< SAQQ’<YYNYZASf< Y<SNZ<XN<l QAfNTSN @< 1<aQ '<XRAX A V<V<
'X<S?AY?Tj” Concilium, "SST -9j C<Y?N?TQT 3 (2024): 82-96

“3AYT?N<QNf<X AQ QN@AX<fLT Y<SNZ<XNT ?<ZUQN?Tl QA??NTSAY @A 1<aQ '<XRAX e AQ V<V< 'X<S?NY?Tj”
Conciliumj  t+aSNT  ul -84.

“": [2TGH:7E;F\ 3A;HEH@B7F [-HK7E;F\ 0KHFHQ;G:7F,” Journal of Moral Theology 13, no. 1
(2024): 1-14.

"The Power of Proximity: Toward an Ethic of Accompaniment in Surgery," with Charles
/N?MTQYTSj .TSN?< #T@@j &QQAXe 4<XTYNj .<XZM< $<XQTaLMj <S@ '<XX $aXQNSj )7LNG@L $;GM;K 1;JHKM
54, no. 2 (2024): 12-21.

“7N?NTaY 5X<aR<l 1TbAXZej 3<?Aj #T@NAY <S@ ZMA $TSfounding of Virtue Ethics,” with Cory D.
Mitchell, +HPKG7E H= MA; 2H9B;MT H= $AKBLN7G &MAB9L  j STm  t'<QQ  ul -100.

“5MATQTLN?<Q &ZMN?Y TC -NCAl " /Ac 7TQaRA >e ZMA 1TS\E?<Q "?<@ARe CTX -NCAj” with Roberto
Dell’Oro, Journal of Moral Theology, 11, no. 2 (July 2022): 65-.

“#aNQ@NSL $<XALNbAX 3AYNQNAS?e NS (QT><Q )A<QZMl &R>T@eNSL ZMA $<ZMTQN? 4T?N<Q 5X<@N\TS NS ZMA
'<?A TC $07*%-19,” cNZM #AZM 3AA?Aj .<X?N< (X<S@ 0XZAL<j "S< 7N?ZTXN< (aNf<@Tj <S@ $A?NQN<
#aYZ<RASZA-Pixa, Linacre Quarterly 89, no. 2 (May 2022): 184-205.

“-TTPNSL #<?Pc<X@ ZT .TbA 'TXc<X@l 8XN\SL :TaX 4eYZAR’s Racial Autobiography,” with Sheri
#<XZQA^ #XTcSA Health Progress (Spring 2022): 43-50.

“8MTYA 3AbTQa\TSi 8MN?M 'aZaXAi 5MA -AL<?e TC "Q<Y@<NX .<?*SZeXA CTX < 3<@N?<Q Pedagogy in
Virtue,” with Daniel P. Rhodes, &SJHLBNHGLY *GM;K:BL9BJEBG7KT 2MP:B;L BG MA; )PF7GBN;L 14, no. 1
t  ul -125.

“#AeTS@ 4ZAc<X@YMNVl 3ATX@AXNSL ZMA &?TSTRN? *R<LNS<\TS TC $<ZMTQN? )A<QZM $<XAj” $AKBLN7G
Bioethics 26, no. 1 (April 2020): 31-55.

“Las Periferías y el Panl 1TVA 'X<S?NYj La Teología del Pueblo, and the Conversion of Catholic
#NTAZMN?Y,” 0;KLJ;9NQ7 3;HEI@B7 51, no. 3 (2019): 421-442.

“&Wa<QQe 4ZX<SLA 'XaNZl $<ZMTQN? )A<QZM $<XA <S@ ZMA "VVXTVXN<\TS TC 3AYN@AS\<Q 4ALXAL<\TS,”
with Cory D. Mitchell, Journal of Moral Theology 8, no. 1 (2019): 36-62.

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{" 4T?N<Q 1X<dNY CTX 64 )A<QZM $<XAl 3AbNYNTSNSL $<ZMTQN? #NTAZMN?Y 7N< $<ZMTQN? 4T?N<Q %T?ZXNSAj”
+HPKG7E H= MA; 2H9B;MT H= $AKBLN7G &MAB9L 38, no. 2 (2018): 111-130, with Michael McCarthy.

{5M<Z +<LLA@ -N^QA 1NQQ <S@ ZMA $TaSZAX-1TQN\?Y TC ZMA $TRRaSNZe TC ZMA &dVAQQA@l
" 4<?X<RASZ<Q "YYAYYRASZ TC 1Ye?MN<ZXN? .A@N?<\TSj{ $AKBLN7G #BH;MAB9L 24, no. 3 (26 October
2018): 246–264.

Issue editor, Journal of Medicine and Philosophy 41, no. 6 (December 2016). Special issue on
3A; "GMB9BJ7MHKT $HKJL;j >e +ACCXAe 1m #NYMTVm

{'XTR 3A; "GN9BJ7MHKT $HKJL; MH MA; 07KN9BJ7MHKT #H:T," Journal of Medicine and Philosophy
41, no. 6 (December 2016).

{(ATLX<VMNAY <S@ "??TRV<SNRASZl "S &??QAYN<Q 3A-Ordering of the Art of Dying," Studies in
$AKBLN7G &MAB9L 29, no. 3 (August 2016): 286–293.

"Clinically Integrated Networks: A Cooperation Analysis," );7EMA $7K; &MAB9LY 42" j STm  t'<QQ
2015): 6-10.

{3TR<S $<ZMTQN? 5A<?MNSL TS *SZAXS<\TS<Q %A>Zl 5Tc<X@ < /Ac .AZMT@TQTLe CTX
Catholic Social Ethics and Moral Theology," Journal of Moral Theology 4, no. 2 (June 2015): 1-m

“$M<X<?ZAXNf<\TS TC < )aR<S 1TcAXA@ /A>aQNfAX $TRVXAYYTX CTX 3AYTaX?A 1TTX 4A_SLYm” With
$MXNYZTVMAX +m )<QQ>AXLj $MXNYZTVMAX &m ;Ra@P<j 8NQQN<R ,m ,TVAYPej -<XY &m 0QYTSm BME Online
t +aSA u lm

{5XA<ZRASZ TC "YZMR< &d<?AX><\TSY cNZM ZMA )aR<S-Powered Nebuliser: A Randomised
$QNSN?<Q 5XN<Qm{ 8NZM $MXNYZTVMAX + )<QQ>AXLj 3ASB "SZTSNT /<O<XXTj '<aYZT $A< (NQj $Q<X< 7NQQ<ZTXTj
"S< $AQN< %N<f @A 6XN<XZAj <S@ -<XY & 0QYTSm npj Primary Care Respiratory Medicine j "X\?QA
number: 14016 (26 June 2014).

“3AbAXYA *SSTb<\TS CXTR ZMA -A<YZ TC 0aX /ANLM>TXYl $TRRaSNZe )A<Qth Workers and U.S.
)A<QZM $<XAj” Health Progress 94, no. 1 t+<Sr'A> 2013): 45-52.

“.TX<Q "S<QeYNY TC < 1XT?A@aXA <Z 1MTASNd )TYVNZ<Qj” Origins 40, no. 33 (Jan. , 2011): -.

“%T?NQA #T@NAYl 5X<SYS<\TS<Q 3AYA<X?M &ZMN?Y <Y #NTVTQN\?Yj” Journal of Medicine and
Philosophy 34, 2009, pp. 384-408.

{3AYVA?Zl 0Xj )Tc 3AYVA?Z CTX 1AXYTSY #A?<RA 3AYVA?Z CTX "aZTSTRej{ Journal of Medicine and
Philosophy 29, no. 6 (December 2004): 665-680.

{3A?TSYZXaNSL (ASAZN? 3AYA<X?M <Y 3AYA<X?Mj{ J Law, Medicine, & Ethics 26 (1998): 48-54.

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Chapters in Books

p3AQNLNTS <S@ 5MATQTLel 8AYZAXSr">X<M<RN?q NS .AZMT@Y NS .A@N?<Q &ZMN?Yj rd edition, eds.
+AXARe 4aL<XR<S <S@ %<SNAQ 4aQR<Yem (ATXLAZTcS 6SNbAXYNZe 1XAYY tNS VXAYY  uj cNZM
Jonathan Crane and Aasim Padela.

p" 'NAQ@ )TYVNZ<Q CTX $<ZMTQN? #NTAZMN?Yl 5MA 1TYZ?TS?NQN<X .AZMT@ TC 1TVA 'X<S?NY NS Laudato Si’
and Fratelli Tutti,” in The Gift of Creationj A@m .=Ze=Y 4f<Q<em $<Y?<@A 1XAYY tNS VXAYY  um

p#XNSLNSL $MXNYZ ZT $MXNYZl 5MA 4<?X<RASZ<Q <S@ 5XNSNZ<XN<S )A<XZ TC ZMA $MaX?MoY )A<QNSL
Ministry,” in SVD Health Professionals: Participating in God’s Mission to Heal, ed. by Alexandre
Rödlach, 131-m 3TRAl 47% 1a>QN?<ZNTSYj  m

“-N>AX<\SL 5MATQTLN?<Q &ZMN?Y CXTR ZMA *SbNYN>QA )<S@l 1<aQ '<XRAXj ZMA 8TXQ@zY Poor, and the
2a<S@<XNAY TC ZMA 'TXZaS<ZA,” in " 0KHJA;M MH MA; 0;HJE;LY 07PE '7KF;K’s Witness and
Theological Ethics. Co-A@NZA@ cNZM +ASSNA 8ANYY #QT?P <S@ "QAd<S@XA "m .<X\SYm  -180.
Pickwick Press, 2023.

“Jesus is My Coyote: Rev. Ramon Dagoberto Quinones and the Sanctuary Movement,” in People
H= (H: (;M 1;7:TW 3R;EQ; -BL=BMLX -7E9HGM;GML 7G: %K;7F;KL =HK 3KHP8E;: 3BF;LX edited by
1AZAX 4Q<@Aj 4MA< 5aZZQAj <S@ +<?WaAQNSA "m #aYYNAm -  m 8R #m &AX@R<SYj  m

“"KAX $07*%-l 5Tc<X@ < 4<?X<RASZ<Q #NTVTQN\?Yj” in 1HPME;:@; $HFJ7GBHG MH $AKBLN7G &MAB9L,
eds. Rebecca Miles and D. Stephen Long.  -388. Routledge Press, 2022.

{$<ZMTQN?NYR NS ZMA /ATS<Z<Q $TSZAdZl #AQNACj 1X<?ZN?Aj $M<QQASLAj )TVAm{ *S Religion and the
&MAB9L BG MA; .;HG7M7E *GM;GLBQ; $7K; 4GBMj A@NZA@ >e 3TS (XAAS <S@ (ATXLA -NZZQAm -64. Oxford
University Press, 2019.

"A Midwife in Egypt: Sr. Mary Stella Simpson." In Can I Get a Witness? Can I Get a Witness?
Thirteen Peacemakers, Community-BuBE:;KLX 7G: "@BM7MHKL =HK '7BMA 7G: +PLN9;, ed. Charles
.<XYMj %<SNAQ 3MT@AYj <S@ 4MA< 5a^QAm - m 8R #m &AX@R<SYj m

p$<ZMTQN? #NTAZMN?Y .AAZY $<ZMTQN? 4T?N<Q 5MTaLMZl " 1XT>QARj < 1XNRAXj <S@ < 1Q<Smq *S Catholic
Bioethics and Social Justice, co-edited with Michael P. McCarthy. 1-23. Liturgical Press, 2019.

“Outsourcing.” In Catholic Bioethics and Social Justice, co-edited with Michael P. McCarthy.
 -281. Liturgical Press, 2019. Co-authored with Robert DeVita.

“Incarnating Caritas.” In Inc7KG7M; (K79;Y 0;KLJ;9MBQ;L HG MA; -BGBLMKT H= $7MAHEB9 );7EMA $7K;,
A@NZA@ >e $M<XQAY #Ta?M<X@m - m $<ZMTQN? )A<QZM "YYT?N<ZNTSj /TbAR>AX m v5MNY >TTP NY <
sequel to my Caritas in Communionwm



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“Ritual – " 'X<RAcTXP CTX 3NZa<Q <Z ZMA %A<ZM>A@mq *S Dying in the Twenty-First Century, edited
>e -e@N< %aL@<QAm -86. MIT Press, 2015.

Encyclopedia and Dictionary Articles

{)aR<S (ASA 5X<SYCAX 3AYA<X?Mj{ Encyclopedia of Bioethics, 4th &@N\TSm &@NZA@ >e #Xa?A
Jennings. Macmillan Reference USA, 2014.

")aR<S (ASA 5X<SYCAX 3AYA<X?Mm{ *S Encyclopedia of Bioethicsj X@ A@mj A@NZA@ >e 4ZAVMAS (m
Post. NY: Macmillan Reference USA, 2003.

{#T@el **m 4T?N<Q 5MATXNAYm{ *S Encyclopedia of Bioethics, 2nd ed., edited by Warren T. Reich, 300-
305. New York, NY: Simon and Schuster Macmillan, 1995.

Lay Publications

“$TRRASZ<Xe TS 64$$# “‘%T?ZXNS<Q /TZA TS ZMA .TX<Q -NRNZY ZT ZMA 5A?MSTQTLN?<Q .<SNVaQ<\TS
TC ZMA )aR<S #T@ej’” NCR May 1, 2023.

“Reclaiming the Catholic Moral and Intellectual Tradition from the Culture Wars,” NCR t"VXNQ j
2022).

“$<ZMTQN?Y 4AAPNSL z3AQNLNTaYz &dARV\TSY ZT 7<??NSAY .aYZ 'TQQTc "aZMAS\? $MaX?M 5A<?MNSL
on Conscience,” NCR (September 21, 2021).

“All Vaccines are Morally Acceptable, Says Member of Pontifical Academy for Life,” NCR (March
5, 2021).

“7<\?<Sl *Z’Y 6SOaYZ t<S@ %<SLAXTaYu CTX 8A<QZMe /<\TSY ZT )T<X@ ZMA $TbN@ 7<??NSAj” "F;KB97
t+<Sa<Xe j  um

“+AYaY NY 8NZM 6Y NS ZMA #T<Z — " 1AXYVA?\bA vTS $07*%w CXTR .aR><N,” in Renewing
1;E7NHGLABJY &LL7TL 7L 6; &QHEQ; 7G: &F;K@; 'KHF 07G:;FB9j A@m >e #Xa?A $TRVZTSm $<ZMTQN?
)A<QZM "YYT?N<\TS t/TbAR>AX  ul -m 8NZM 4Xm %Xm #AAS< .<@M<b<ZMm

“Unmasking Neoliberalism’Y *SbNYN>QA (XNVl )TRT &?TSTRN?aY <S@ ZMA 1AXYTS NS #NTAZMN?Yj”
$HGM;G:BG@ -H:;KGBN;Lj 6SNbAXYNZe TC /TZXA %<RAj 4?NAS?A <S@ ZMA )aR<S 1AXYTS &YY<e 4AXNAYm
July 18, 2019.




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PAPERS & PRESENTATIONS (selected)

Peer-Reviewed Conference Papers

“#aNQ@NSL $<XALNbAXY’ Resiliency in the (QT><Q 4TaZM ZMXTaLM < 7NXZa<Q 1XTLX<Rj” "1)" "SSa<Q
.AA\SLj "ZQ<SZ<j /TbAR>AX j  

“"@@XAYYNSL ZMA )N@@AS $XNYNYl #aNQ@NSL 8TRAS $<XALNbAXY’ Resiliency and Well-being,” Women
Deliver 2023 Conferencej +aQe  j cNZM $<XTQ 5TYTSAj $Q<a@N< -Q<SZASj )ASXe .YTP<j *Y<R<X
(aNTSj <S@ "QAd (<X?N<m

“7N?NTaY 5X<aR<l 1TbAXZej 3<?Aj #T@NAY <S@ ZMA $TSCTaS@NSL TC 7NXZaA &ZMN?Yj” "SSa<Q .AA\SL
TC ZMA 4T?NAZe TC $MXNY\<S &ZMN?Yj +<Sa<Xe  j cNZM $TXe D. Mitchell.

“&?TSTRNfNSL &ZMN?Yl 5MA &RAXLAS?A TC “Value” NS ZMA )NYZTXe TC &ZMN?<Q 5MATXe” on a panel
AS\ZQA@ “%A?TSYZXa?\SL 7<QaAl " .aQ\Q<eAXA@ 5MATQTLN?<Q "S<QeYNY TC )aR<S .A<SNSL-
Making,” with Jean-1NAXXA 'TX\Sj %<S 3MT@AYj <S@ %<bN@ #eXSA <Z ZMA ?TSCAXAS?A AS\ZQA@
“8M<Z .<^AXYl 0S 7<QaA <S@ 7<QaNSLj” 5TXTSZT 4?MTTQ TC 5MATQTLej .<e -8, 2020, Toronto,
Canada (cancelled due to COVID-19).

“5TTQY CTX 5X<SYCTXR<\TSl $M<VQ<NSY <Y '<?NQNZ<ZTXY TC 1TYZ-5X<aR<\? (XTcZMj” cNZM #AZM 3AA?Aj
M.Div., #$$$j 1XTLX<R TS .A@N?NSA <S@ 3AQNLNTSj $TQaR>aYj 0)j .<X?M   tVTYZVTSA@ @aA
to COVID-19).

“Trauma-*SCTXRA@ #NTAZMN?Yj” V<SAQ @NY?aYYNTS cNZM +aQNA (aS>e <S@ +<?WaAQNSA 8TQCj "4#)j
Oct. 24, 2019.

“5TTQY CTX 5X<SYCTXR<\TSl $M<VQ<NSY <Y '<?NQNZ<ZTXY TC Post-5X<aR<\? (XTcZMj” cNZM #AZM 3AA?Aj
.m%Nbmj #$$$j /<\TS<Q "YYT?N<\TS TC $<ZMTQN? $M<VQ<NSY "SSa<Q .AA\SLj .<e m

“1TVA 'X<S?NYl 5MA -NbA@ *SZALX<\TS TC $<ZMTQN? 4T?N<Q 5MTaLMZ <S@ $<ZMTQN? #NTAZMN?Y” at “Pope
'X<S?NYj " 7TN?A $XeNSL 0aZ NS ZMA 8TXQ@l .AX?ej +aY\?Aj -TbA <S@ $<XA CTX ZMA &<XZMj” Villanova
University, April 15-18, 2018.

{" $<ZMTQN? 4T?N<Q 1X<dNY CTX 64 )A<QZM $<XAl 3AbNYNTSNSL $<ZMTQN? #NTAZMN?Y 7N< $<ZMTQN? 4T?N<Q
Doctrine,” 4T?NAZe TC $MXNY\<S &ZMN?Yj +<Sa<Xe j 1TXZQ<S@, Oregon.

{*Y ZMA -<ZAYZ ZMA (XA<ZAYZi &ZMN?<Q 1AXYVA?\bAY TS /TbAQ *SZAXbAS\TSYj{ 5MA "SSa<Q
$TSCAXAS?A TC ZMA /<\TS<Q "YYT?N<\TS TC $<ZMTQN? $M<VQ<NSYj $MN?<LTj *-j "VXNQ j m

{$<ZMTQN? 1AXYVA?\bAY TS &R>T@NRASZj{ 5MXAA VQAS<XNAYm 5MA 5MNX@ Annual Conference for the
1XTLX<R TS .A@N?NSA <S@ 3AQNLNTSj $MN?<LTj *-j .<X?M -9, 2014.

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“4ZAc<X@YMNV bYm $<XNZ<Yl " $M<QQASLA ZT ZMA 1XNS?NVQA TC 4ZAc<X@YMNV NS $<ZMTQN? )A<QZM $<XA
Ethics,” Second Annual Conference of the Program on Medicine and Religion, University of
Chicago. Chicago, IL, May 28, 2013

Invited Lectures & Presentations

“$<ZMTQN? #NTAZMN?Y <S@ 4T?N<Q +aY\?Aj” 5MA .<XN<SNYZ -A?ZaXAj $M<RNS<@A 6SNbAXYNZej )TSTQaQaj
October 13, 2024.

“5MA )aR<S (ASTRA <S@ "SZMXTVTQTLN?<Q 4NSLaQ<XNZel The Case of Enhancement,” *SZAXS<\TS<Q
#NTAZMN?Y (XTaVj #XaYYAQYj #AQLNaRj .<e -26, 2024.

Chair, “'XTR %TRNS<\TS ZT 3AYVTSYN>NQNZel 3AZMNSPNSL )aR<S?ASZXNYRj” 1TS\E?<Q "?<@ARe CTX
-NCA "SSa<Q .AA\SLj “)aR<Sm .A<SNSL <S@ $M<QQASLAYj” 5MA 7<\?<Sj 3TRAj 'A>Xa<Xe  -13,
2024.

“$TRRASZ<Xe TS ZMA 64$$# %H9MKBG7E .HM; HG 3;9AGHEH@B97E -7GBJPE7NHG H= MA; #H:T,” Illinois
$<ZMTQN? )A<QZM "YYT?N<\TSj "VXNQ j  m

“Pastoral Accompaniment for the Sick Today,” Symposium on The Leadership of Pope Francis in
the Global Health &RAXLAS?ej ZMA )A<QZM <S@ )A<QNSL 6SNZ TC 1"$51"/ t1<S-African Catholic
Theology and Pastoral Network), March 25, 2023.

,AeSTZAj “Neither Marketplace nor #<^QALXTaS@l Catholic 6SNbAXYN\AY as 'NAQ@ )TYVNZ<Q for a
#A^AX ,NS@ of 1TQN\?Y,” AYYT?N<\TS TC $<ZMTQN? $TQQALAY <S@ 6SNbAXYN\AY "SSa<Q .AA\SLj
'A>Xa<Xe  m

{5Tc<X@ < 4<?X<RASZ<Q #NTVTQN\?j” Postgraduate Course in {5MATVTQN\?Ym /Ac 5XAS@Y NS 1TQN\?<Q
5MATQTLe{ *'&4 <S@ ?AX\E?<ZA@ >e ZMA 1TS\E?<Q 6SNbAXYNZe TC 4<lamanca (UPSA), January 12 and
19, 2023.

“#NTVTQN\?Y "KAX /AaXTY?NAS?Aj” ZMA /AaXTY?NAS?A *SZAXAYZ (XTaVj "SSa<Q .AA\SL TC ZMA
4T?NAZe TC $MXNY\<S &ZMN?Yj $MN?<LTj *-j +<Sa<Xe j  m

“5Tc<X@ < 8TR<SNYZ #NTAZMN?Yl " 3AYVTSYA ZT 8eQNS 8NQYTSj” +TMS )TVA 'X<SPQNS )aR<SN\AY
*SY\ZaZAj %aPA 6SNbAXYNZej %A?AR>AX j  m

“#AeTS@ $<ZMTQN? %NY?TX@<S?Al 1TVA 'X<S?NY <S@ ZMA 4<?X<RASZ<Q 7NYNTS TC ZMA 4A?TS@ 7<\?<S
Council,” 4V<SNYM #NYMTVY’ Conference, Avila Spain, November 2022.

“Sr. Mary Stella Simpson <S@ )A<QZM &WaNZej” Valparaiso University, October 25, 2022.



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“#NTVTQN\?Y "KAX /AaXTY?NAS?Aj” 1TS\E?N< 6SNbAXYN@<@ $<ZUQN?< @A 1aAXZT 3N?Tj 1TS?Aj 1aAXZT
Rico, October 21, 2022.

“$TSCXTS\SL ZMA *SbNYN>QA )<S@l /ATQN>AX<QNYR <S@ ZMA 'aZaXA TC t#NTu&ZMics,” Magisterial
Lecture, Inter-American University of Puerto Rico, San Juan, Puerto Rico, October 20, 2022.

“/TXR 8NXf>< <S@ ZMA %AQNLMZ TC %NXZj” panel respondent, Valparaiso University, October 6,
2022.

4eRVTYNaR TS p-NCAj 4TQN@<XNZej 'X<ZAXSNZel 5MA Consistent Ethic in Light of Fratelli Tutti”, The
#AXS<X@NS $ASZAXj $<ZMTQN? 5MATQTLN?<Q 6SNTSj 4AVZAR>AX -18, 2022

&dV<S@A@ 3A<YTS $TSLXAYYj 6SNbAXYN@<@ 'X<S?NY?T 7NZZTXN<j .<@XN@j 4V<NSj .<e          -24, 2022.

“8<X TX 1A<?Ail 5Tc<X@ < #A^AX ,NS@ TC #NTVTQN\?Yj” at “1TVA 'X<S?NYj 7<\?<S **j <S@ ZMA 8<e
'TXc<X@j” March 25- j  j -TeTQ< 6SNbAXYNZe $MN?<LTj YVTSYTXA@ >e ZMA )<SP $ASZAX CTX ZMA
$<ZMTQN? *SZAQQA?Za<Q )AXNZ<LA t-TeTQ< 6SNbAXYNZe $MN?<LTuj ZMA #TNYN $ASZAX t#TYZTS $TQQALAuj <S@
the CentAX CTX 3AQNLNTS <S@ 1a>QN? -NCA t'TX@M<R 6SNbAXYNZeum

“(T@ bm .<RRTSl #NTVTQN\?Y "KAX /AaXTY?NAS?Aj” Theology, Medicine, and Culture Program,
Duke University, April 1, 2022.

“3ANR<LNSNSL 5MATQTLN?<Q #NTAZMN?Yj” $TSZXN>a\TSY ZT < 1TYZQN>AX<Q 5MATQTLel " /Ac #ALNSSNSLj
*SY\ZaZT @A 'NQTYTF< &@NZM 4ZANSj "X?M@NT?AYA TC (X<S<@<j 4V<NSj <S@ ZMA 1TS\E?<Q 6SNbAXYNZe TC
Salamanca, March 22, 2022.

“Theological Ethics and Neuroscience,” ZMA /AaXTY?NAS?A *SZAXAYZ (XTaVj "SSa<Q .AA\SL TC ZMA
4T?NAZe TC $MXNY\an Ethics, Costa Mesa, CA, January 10, 2022.

“$<ZMTQN? #NTAZMN?Y <S@ 4T?N<Q +aY\?Aj” 0VASNSL ,AeSTZAj $<ZMTQN? )A<QZM "YYT?N<\TS TC 0SZ<XNTj
Toronto, Canada, October 22, 2021.

“Presentación del Volumen: Covid- e B\?< ZATQULN?< AS "RAXN?< -<\S<”—Catholic Theological
&ZMN?Y NS < 8TXQ@ $MaX?Mj -<\S "RAXN?<S 4A?\TSj +aQe j  

“()Tcu "XA 8A t/TZu 5<QPNSL ">TaZ 3<?Ai” $<ZMTQN? )A<QZM "YYT?N<\TS "YYAR>Qe 5<>QA 5<QPj
June 14 and June 15, 2021, with Michael McCarthy.

“$07*%j $TRRaSNZe )A<QZMj <S@ $<tholic Social Teaching,” 04' )A<QZMj "VXNQ j  m

“$07*% <S@ $<ZMTQN? #NTAZMN?Yl 5NRA ZT 3AZMNSP 0aX 1XNTXN\AYj” St. Mary’Y $TQQALAj */j 'A>Xa<Xe
j  m



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“‘" )A<XZ 0VAS ZT ZMA 8MTQA 8TXQ@’: 5MA 5XNSNZ<XN<S %eS<RNYR TC <S *SZALX<Q )aR<S &?TQTLe TC
ST?N<Q 'XNAS@YMNV NS Laudato Si’ and 'K7M;EEB 3POX” 4ARNS<Xj 1TS\E?<Q "?<@ARe CTX -NCAj 'A>Xa<Xe
16, 2021.

“‘5MA 4VNXNZ TC 3AbTQa\TS<Xe $M<SLA’: $<ZMTQN? 4T?N<Q 5MTaLMZ <S@ ZMA 5X<SYCTXR<\TS TC
$<ZMTQN? #NTAZMN?Y NS < 5NRA TC $07*%j” 2021 #AYYA^A -A?ZaXA TS .A@N?<Q &ZMN?Yj ,NSLY $TQQALAj
Wilkes-#<XXAj 1"j 'A>Xa<Xe j  m

“-A<bNSL (T@ CTX (T@l 3ACX<RNSL .A@N?<Q 1<YZTX<Q $<XA <Y < 5MATQTLN?<Q 1X<?\?Aj” Opening
,AeSTZAj $TSCAXAS?A TS “%eNSL < $MXNY\<S %A<ZMj” ,ASSA@e *SY\ZaZA TC &ZMN?Yj (ATXLAZTcS
University, Washington, DC, November 6, 2020.

“)A<QZM?<XA NY < 3<?N<Q +aY\?A *YYaAj” YAYYNTS j cNZM $TXe .NZ?MAQQ <S@ .<QNP )ASEAQ@j
YVTSYTXA@ >e cMNZA?T<ZYCTX>Q<?PQNbAY <S@ ZMA $MN?<LT $T<QN\TS TC $MaX?MAYj 0?ZT>AX j
2020.

“Tools for 5X<SYCTXR<\TSl $M<VQ<NSY <Y '<?NQNZ<ZTXY TC 1TYZ-5X<aR<\? (XTcZMj” cNZM #AZM 3AA?Aj
.m%Nbmj #m$m$m$mj /<\TS<Q "YYT?N<\TS TC $<ZMTQN? $M<VQ<NSYj 8A>NS<Xj +aSA  m

“Las Periferias y El Panl 5MA -<\S "RAXN?<S *SIaAS?A TS 1TVA 'X<S?NY’ Sacramental Logic and
ZMA $TSbAXYNTS TC $<ZMTQN? #NTAZMN?Yj” 4aRRAX *SY\ZaZAj *SY\ZaZT @A Q< 'NQTYTE< &@NZM 4ZANSj
(X<S<@<j 4V<NSj +aSA j m

“Living Instruments of the Church’Y .NYYNTSl $aQ\b<\SL ZMA (NK TC -<e .NSNYZXej” Cardinal Stritch
6SNbAXYNZej $AQA>X<\on of Lay Ministry Symposium, Milwaukee, WI, January 2019.

“Living Instruments of the Church’Y .NYYNTSl 5MA 5MATQTLe TC ZMA -<NZe <S@ $<ZMTQN? )A<QZM
Care,” *QQNSTNY $<ZMTQN? )A<QZM "YYT?N<\TS "SSa<Q .AA\SLj $MN?<LTj *-j /TbAR>AX m

“What is TheoloLe <S@ 8Me %TAY *Z .<^AX ZT )A<QZM $<XA #T<X@Yi $TSbAXY<\TS cNZM "aZMTXY
of Incarnate Grace,” $)" "YYAR>Qej 4<S %NALTj $"j +aSA m

{5M<Z +<LLA@ -N^QA 1NQQ <S@ ZMA $TaSZAX-1TQN\?Y TC ZMA $TRRaSNZe TC ZMA &dVAQQA@l
A Sacramental Assessment of 1Ye?MN<ZXN? .A@N?<\TSj{ $TSCAXAS?A TS 5<PNSL 0aX .A@Y
'<NZMCaQQel 4eRVTYNaR TS $MXNY\<SNZe | 1Ye?MTVM<XR<?TQTLem %aPA 6SNbAXYNZej %aXM<Rj /$j
.<X?M m

{8MN?M '<NZMi 8MN?M 3A<YTSi 8MN?M +aY\?Al " 5MATQTLN?<Q $TRRASZ<Xe TS Laudato Si’," Loyola
University Chicago Symposium on Laudato Si’ | ZMA &SbNXTSRASZj $MN?<LTj *-j 4AVZAR>AX 2016.

{1<YZTX<Q <S@ 1<QQN<\bA $<XA 3AYTaX?AY CTX %eNSL 8AQQj{ 5Tc<X@Y < $TSZARVTX<Xe
Art of Dying--The 5th Annual McDonald Symposium in Theological Ethics at the University of
Cambridge, Cambridge, England, May 18-20, 2015.


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{5MATQTLN?<Q 'TaS@<\TSY TC $<ZMTQN? )A<QZM $<XAj{ $)& )A<QZM -A<@AXYMNV "?<@ARej
Philadelphia, PA, June 9, 2014.

{"@<R 4RNZM TX .TZMAX .?$<aQAei $<S $<ZMTQN? )A<QZM $<XA #A 'TX-1XTEZi{ 5MA th Annual
$TSCAXAS?A TS $TSZARVTX<Xe $<ZMTQN? )A<QZM $<XA &ZMN?Yj 5MA /ANYc<SLAX *SY\ZaZA CTX
#NTAZMN?Yj -TeTQ< 6SNbAXYNZe $MN?<LTj $MN?<LTj *-j .<X?M j m

{$<ZMTQN?NYR NS ZMA /ATS<Z<Q $TSZAdZl #AQNACj 1X<?\?Aj $M<QQASLAj )TVAj{ 5MA "SSa<Q (X<bASY
Conference TS ZMA 1MeYN?<Q <S@ %AbAQTVRASZ<Q &SbNXTSRASZ TC ZMA )NLM-Risk Infant in
?TQQ<>TX<\TS cNZM ZMA .<X?M TC %NRAYj $QA<Xc<ZAX #A<?Mj '-j 'A>Xa<Xe j m

{5MATQTLN?<Q 'TaS@<\TSY TC $<ZMTQN? )A<QZM $<XAj{ $<ZMTQN? )A<QZM "YYT?N<\TS Minnesota,
Minneapolis, MN, November 8, 2013.

"Solidarity," C<ZMTQN? )A<QZM &<YZrTrinity )A<QZM $<ZMTQN? 4T?N<Q 1X<?\?AY 8A>NS<X 4AXNAYj 0?ZT>AX
23, 2013.

{(X<ZaNZTaYSAYYj{ C<ZMTQN? )A<QZM &<YZrTrinity )A<QZM $<ZMTQN? 4T?N<Q 1X<?\?AY 8A>NS<X YAXNAYj
September 23, 2013.



$.301&1 2"3()2

Loyola University Chicago

Masters

IPS 465        Theology and Ethics at the End of Life
IPS 545        'TaS@<ZNTSY TC $MXNYZN<S 4VNXNZa<QNZe
IPS 553        Moral Theology and Christian Ethics
*14         *SZXT@a?ZNTS ZT 5MATQTLe <S@ .NSNYZXe CTX $<ZMTQN? )A<QZM $<XA
IPS 599        1X<eNSL CTX .NX<?QAYi
#&)-        $<ZMTQN? #NTAZMN?Y <S@ 4T?N<Q +aYZN?A
IPS 596        Dying Well
#&)-        (QT><Q #NTAZMN?Y
#&)-        *SZXT@a?ZNTS ZT )A<QZM?<XA .NYYNTS -A<@AXYMNV

Doctoral

#&)-        5MATQTLN?<Q #NTAZMN?Y
#&)-        5MATQTLej 3<?Aj <S@ $<ZMTQN? )A<QZM $<XA
#&)-        1<aQ '<XRAXl .A@N?NSA <S@ 5MATQTLe CXTR ZMA .<XLNSY
#&)-         $<STS -<c CTX $<ZMTQN? )A<QZM?<XA

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Marquette University

(G7:N7I;

5)&0        Introduction to Theological Ethics
5)&0      Introduction to Theological Ethics
5)&0       Christian Social Ethics
5)&0       4T?N<Q +aYZN?A <S@ )A<QZM $<XA t@AbAQTVA@ CTX $TQQALA TC /aXYNSLu
5)&0      Catholic Moral Theology
5)&0      $<ZMTQN? )A<QZM?<XA &ZMN?Y

Undergraduate

5)&0       Medical Ethics
5)&0       Justice and Morality (majors capstone course)
5)&0       Independent Study in Medical Ethics
5)&0       Independent Study on Suffering and Embodiment
ARSC 3986     MU-.$8 #NTAZMN?Y *SZAXSYMNV

University of Dayton

(G7:N7I;

REL 500A      Research Methods
REL 500D      'TaS@<ZNTSY TC 4eYZAR<ZN? <S@ .TX<Q 5MATQTLe t<QYT TSQNSAu
3&-        Christian Discipleship
REL 561       Approaches to Morality
REL 562       Contemporary Moral Problems
REL 660       $<ZMTQN?NYRj #NTAZMN?Yj <S@ ZMA 6m4m $TSZAdZ
REL 660       Catholic Moral Theology

Undergraduate

REL 103       Introduction to Religion
ASI 101-102   CORE: Interdisciplinary Introduction to Religion and Philosophy
ASI 150       Introduction to the University Experience
"4*        $03& $<VYZTSAl 1XTCAYYNTS<Q &ZMN?Y NS < (QT><Q 4ociety
REL 363       '<NZM <S@ +aYZN?A tp5MA #T@e 1TQNZN? NS 'QTXAS?Al 4<NSZY <S@ ZMA 1TTXjq
              'QTXAS?Aj *Z<Qej 4aRRAX u
3&-        $MXNYZN<S &ZMN?Y <S@ )A<QZM $<XA
3&-        $MXNYZN<S &ZMN?Y <S@ )A<QZM $<XA t5MA #T@e 1TQNZN? NS 'QTXAS?Al 5MATQTLe <S@
              Medicine froR ZMA &<XQe $MaX?M ZT ZMA 3AS<NYY<S?Ajq 'QTXAS?Aj *Z<Qej 4aRRAX
              2005)

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'3-%&% (0"-21 "-% 0&1&"0$) 13//.02

*S <@@N\TS ZT ZMA yj NS LX<SZY * M<bA >AAS <c<X@A@ CTX Re TcS XAYA<X?Mj * M<bA <QYT
<YYNYZA@ TXL<SNf<\TSY NS securing $1.25M and in managiSL <S <@@N\TS<Q y. NS LX<SZY.

LILLY ENDOWMENT: 5MXNbNSL $TSLXAL<\TSY (X<SZj  -2025, with the Montreat Conference
$ASZAX <S@ ZMA #Q<?P .TaSZ<NS 4?MTTQ TC 5MATQTLe <S@ $TRRaSNZe t0?ZT>AX  l jjum

LILLY ENDOWMENT: Called to Lives of Meaning <S@ 1aXVTYA 1Q<SSNSL (X<SZj 4aRRAX  t.<e
 l jk $T-PI).

A440$*"5*0/ 0' T)&0-0(*$"- S$)00-4: *SSTb<\TS (X<SZ 1XTLX<Rl “Reimagining Theological
$TSZAdZa<Q &@a?<\TSl 5MATQTLN?<Q "?\TS 3AYA<X?M 5A<RY,q -2018 t"aLaYZ l jk
Co-PI).

A440$*"5*0/ 0' T)&0-0(*$"- S$)00-4: '<?aQZe %AbAQTVRASZ (X<SZj “'TXRNSL '<?aQZe CTX *SZALX<ZA@
.NSNYZAXN<Q 'TXR<\TSjq -2018 t"aLaYZ l jj 1*um

C"5)0-*$ )&"-5) ASSOCIATION: 7NYN\SL 4?MTQ<Xj  -2013 (June 2012. $40,000).

W"#"4) C&/5&3 '03 T&"$)*/( "/% L&"3/*/( */ T)&0-0(: "/% R&-*(*0/: “(X<@a<ZA 5A<?MNSL 1XTLX<R
*SN\<\bAj” 2010-2012 (June 2010. $15,000).

T)& ARETE 'OUNDATION, Science of Virtue Program: "The Economy of Virtue: Virtue Theory in
Light of Poverty and Neuroscience,” cNZM +ADXAe 1m #NYMTVj "Re -<aX< )<QQj <S@ "S@XAc .N?MAQm
2010-2012 (March 2010. $225,000)

NATIONAL C0--&(*"5& INVENTORS AND INNOVATORS ALLIANCE: “5MA )aR<S-1TcAXA@ /A>aQNfAX NS $ASZX<Q
America,” with Lars E. Olson, Ph.D., 2010-2011 (January 2010 $42,000).

CEL&#3"5*/( 5)& C&/5&//*"- 0' WOMEN: “8TRAS NS 5MATQTLe <Z .<XWaA^A 6SNbAXYNZej” 2009-2010
(August 2009, $2,000)

R&4&"3$) COUNCIL SEED (RANT, U/*7&34*5: 0' DAYTON: “Revision of On Moral Medicine, for the Third
&@N\TSj” 2006 ($5,500)

LOUISVILLE INSTITUTE: $MXNY\<S '<NZM <S@ -NCA 4<>><\?<Q (X<SZj {"STNS\SL ZMA 4N?Pl $MXNY\<S
1X<?\?AYj #T@NAYj <S@ .A@N?<Q &ZMN?Yj” 2003-4 ($45,000)

LILLY P30(3". */ C)3*45*"/ L&"%&34)*1, U/*7&34*5: 0' DAYTONl 5A<?MNSL (X<SZ CTX {5MA 7T?<\TSY TC
Medicine," 2003 ($3,500)


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INTERDISCIPLINARY 'ACULTY SEMINAR ON R&-*(*0/ "/% SCIENCE, U/*7&34*5: 0' DAYTONl 3AYA<X?M (X<SZj
2000 ($3,500)

R&4&"3$) COUNCIL SEED (RANT, U/*7&34*5: 0' DAYTONl {(ASA 5MAX<Ve <S@ $MNQ@XASl " 5AYZ-Case for
)aR<S 4a>OA?ZY 3AYA<X?Mj” 1999 ($3,000)

R&4&"3$) COUNCIL SEED (RANT, U/*7&34*5: 0' DAYTONl 'TXaR TS ZMA $<ZMTQN? *SZAQQA?Za<Q 5X<@N\TS
Today, "Virgil Michel and the Liturgical Movement: An Undiscovered Source for Liturgy and
Ethics," 1998 ($3,000)

D&1"35.&/5 0' R&-*(*064 STUDIES, UNIVERSITY 0' DAYTONl 3AYA<X?M (X<SZj {-NZaXLe <S@ &ZMN?Y NS
'ARNSNYZ 5MATQTLej{  tju

R&4&"3$) COUNCIL SEED (RANT, U/*7&34*5: 0' DAYTONl 'TXaR TS ZMA $<ZMTQN? *SZAQQA?Za<Q 5X<@N\TS
Today, University of Dayton, "In-3NZa<QA@ #T@NAYl -NZaXLe <Y ZMA 'TaS@<\TS CTX $MXNY\<S &ZMN?Yj”
 tju

SUMMER R&4&"3$) (RANT, D&1"35.&/5 0' R&-*(*064 STUDIES, U/*7&34*5: 0' DAYTON: 1996 ($3,000)

NATIONAL I/45*565&4 0' )&"-5)l &-4* 'AQQTcYMNV NS .TQA?aQ<X <S@ $QNSN?<Q (ASA\?Yj 6SNbAXYNZe TC
Iowa, 1994 ($40,000)



).-.01 S "5"0%1

Expanded Reason Institute, Expanded Reason Award, for #BHJHEBMB9L "=M;K .;PKHL9B;G9;Y
Morality and the Economy of Virtue, 2021.

$<ZMTQN? 1XAYY "YYT?N<ZNTS #TTP "c<X@j $<ZMTQN? 4T?N<Q 5MTaLMZj )TSTX<>QA .ASZNTSj CTX
Catholic Bio;MAB9L 7G: 2H9B7E +PLMB9;Y 3A; 0K7SBL H= 42 );7EMA97K; BG 7 (EH87EBU;: 6HKE:, 2019.

$<ZMTQN? 1XAYY "YYT?N<ZNTS #TTP "c<X@j 5MATQTLej 5MNX@ 1Q<?A )TSTXYj CTX Gathered for the
+HPKG;TY -HK7E 3A;HEH@T BG $7MAHEB9 0;KLJ;9MBQ;, 2008

University Teaching 'AQQTcj 6SNbAXYNZe TC %<eZTSj -
(X<@a<ZA "YYNYZ<SZYMNVj %aPA 6SNbAXYNZej -1990
-AXTe &m %AZZR<S 4?MTQ<XYMNVj -1988
(X<@a<ZA "YYNYZ<SZYMNVj 6SNbAXYNZe TC /TZXA %<RAj -1986
1MN #AZ< ,<VV<j )TVA $TQQALAj 
Magna Cum L<a@Aj )TVA $TQQALAj 
"QRTS 5m (T@CXAe 4ASNTX 1XNfA NS $MARNYZXe CTX &d?AQQAS?A NS 4?MTQ<XYMNV | 3AYA<X?Mj )TVA
College, 1985
4NLR< 9N "c<X@ CTX 3AYA<X?Mj )TVA $TQQALAj 

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$aVAXe 3AYA<X?M 'AQQTcYMNVj )TVA $TQQALAj 
.TXZ<X #T<X@j )TVA $TQQALAj 
+<A?PAX $MARNYZXe 4?MTQ<XYMNVj )TVA $TQQALAj -1985


/0.'&11*.-"+ ,&,#&01)*/1

4T?NAZe TC $MXNY\<S &ZMN?Yk $<ZMTQN? 5MATQTLN?<Q &ZMN?Y NS < 8TXQ@ $MaX?M




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